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                                    #: 5880




                   Thomas-Jensen
                    Affirmation



                      Exhibit # 122
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                                             #: 5881



                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND


      STATE OF NEW YORK, et al.,

                   Plaintiffs,

            v.
                                                        C.A. No. 25-CV-39-JJM-PAS
      DONALD TRUMP, et al.,

                   Defendants.


                  DECLARATION OF ERICK SCHEMINSKE IN SUPPORT OF​
                  THE STATES’ REQUEST FOR PRELIMINARY INJUNCTION

  ​        I, Erick Scheminske, hereby declare and state as follows:

           1.​    I am the current Chief Operating Officer of the Colorado Department of Public

  Health and Environment (CDPHE). CPDHE is a principal department whose executive director

  is appointed by the Governor of Colorado. See Colo. Const. Art. 4 § 22. CDPHE serves

  Coloradans by providing high-quality, cost-effective public health and environmental protection

  services that promote healthy people in healthy places. I have served in this role since 2021.

           2.​    I make this declaration as a representative of CDPHE, in part based on the

  business records of CDPHE and the State of Colorado, and in part based on my personal

  knowledge and experience. In my official capacity and based on my personal knowledge and

  other sources of information I have obtained and reviewed in that official capacity, I am familiar

  with, and if called upon to do so, would be competent to testify to the facts and circumstances set

  forth herein.

           3.​    I submit this declaration in support of Plaintiff States’ Request for Preliminary

  Injunction in this matter, which challenges the federal funding freeze triggered by various


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  Executive Orders issued by President Trump and federal agency actions that seek to implement

  aspects of those Orders. In particular, this declaration addresses the effects of federal agencies’

  attempt to pause disbursement of federal grant and loan funds appropriated by Congress under

  the Inflation Reduction Act of 2022 (IRA) and the Infrastructure Investment and Jobs Act (IIJA),

  as well as separate health-related funding.

         4.​     CDPHE has been awarded over $98 million in direct funding to the agency under

  the IRA and IIJA, including formula funding and competitive grants. To date the state has

  contracted for $23.6 million of this funding with subrecipients. Colorado also receives additional

  IRA and IIJA funding for the State Revolving Fund, which is awarded through a separate

  authority, with a total estimated amount of $585 million in funds awarded over five years, of

  which $222 million has been received to date. Consistent with the instructions of the IRA and

  IIJA, Colorado uses these funds to support a wide array of programs designed to benefit

  Coloradans. Details regarding a sample of specific grants are set forth below.

         5.​     To date, the overall result of the attempts to pause disbursement of federal funding

  pursuant to Executive Orders has been to create confusion and uncertainty regarding the status of

  the federal funds that CDPHE and its partner agencies rely on to protect the environment and

  improve public health.

         Reducing Lead in Drinking Water

         6.​     Among many other functions, CDPHE serves as the program administrator for

  Colorado’s State Revolving Fund, which it jointly administers with the Department of Local

  Affairs (DOLA) and the Colorado Water Resources & Power Development Authority

  (Authority). The State Revolving Fund administers loan awards from the Environmental

  Protection Agency (EPA) under both the Clean Water Act and the Safe Drinking Water Act. As



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  program administrator, CDPHE provides technical assistance and establishes eligibility criteria

  for the program, in partnership with DOLA and the Authority, which are approved by the

  Colorado Water Quality Control Commission.

         7.​     Under the IIJA, Colorado has been awarded $88.6 million to address lead in

  drinking water systems through the Drinking Water Revolving Fund; this award covers the first

  two years of this five-year program. The estimated total amount of Colorado’s funding for all

  five years of this program under the IIJA is $215.8 million. A true and accurate copy of the

  award document is attached hereto as Exhibit A. This funding is intended to help public water

  systems and states achieve the health protection objectives of the Safe Drinking Water Act, with

  a specific grant to address removal of lead service lines. These service lines can leach lead into

  drinking water as it is delivered to customers’ homes. Lead is dangerous to human health and

  EPA has determined that there is no safe level of lead in drinking water.

         8.​     CDPHE has received confusing communications from federal agencies regarding

  the status of federal funds, including a memorandum dated January 27, 2025, issued by the

  Acting Chief Financial Officer of the EPA. That memorandum indicates that all disbursements

  for unliquidated obligations funded by the IRA and the IIJA are paused to allow for review of the

  programs pursuant to section 7 of the Unleashing American Energy Executive Order. It is unclear

  how this review could impact Colorado’s funding appropriated under the IRA and IIJA. CDPHE

  has since received an updated communication indicating that funding has resumed as a result of a

  court directive. However, based on email correspondence between EPA and the Authority, it is

  my understanding that the grant award fund for Colorado’s 2023 Drinking Water Revolving Fund

  lead reduction grant program was not accessible as of the afternoon of February 4, 2025. In light

  of the continued effect of the “Unleashing American Energy” Executive Order, which directs all



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  agencies to immediately pause disbursement of certain funds appropriated through the IRA and

  IIJA, CDPHE expects the status of this funding to continue to be uncertain absent court

  intervention.

         9.​      Any pause in funding for the lead service line replacement program could

  interfere with completion of ongoing projects to remove lead service lines from public water

  systems and put subrecipients’ businesses at risk.

         Emerging Contaminants Funding

         10.​     As another example of funding critical to CDPHE’s mission, CDPHE also

  received a direct IIJA grant under the Water Infrastructure Improvements for the Nation Act

  designated to address emerging contaminants in drinking water. One such contaminant is a group

  of chemicals known as per- and polyfluoroalkyl substances (PFAS), which is prevalent in

  Colorado’s drinking water supplies and has been linked with serious health impacts. Colorado

  has been awarded approximately $42 million per year over five years under this program to

  address emerging contaminants in drinking water, including PFAS. In the first two years of the

  program, CDPHE has been awarded over $85 million in funding through this program, and has

  obligated $20.5 million to contractors to work on drinking water treatment projects and other

  projects to address PFAS contamination in drinking water. A true and accurate copy of the award

  is attached hereto as Exhibit B. Any pause in funding for this program could interfere with

  completion of ongoing projects to address PFAS in drinking water.

         Other Impacted Funding

         11.​     In addition to the IRA and IIJA funding discussed above, CDPHE receives

  significant federal funding under other statutes and programs to support its public health and

  environmental protection work. As a result of the directive to pause disbursement of federal



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  funding, CDPHE experienced disruption in funding it has been awarded from the federal

  Department of Health and Human Services.

         12.​    Specifically, on January 31, 2025 CDPHE submitted a request for funding for

  more than 50 programs totalling $2,929,682.14 through the Payment Management System

  (PMS) federal funding portal. Based on past experience, it typically takes one business day to

  process these requests. As of February 5, 2025, that funding draw is still pending. CDPHE staff

  inquired as to when they could expect payment, and the PMS Customer Support agent responded

  as follows: “If the debit date does not display after one business day and you do not see the

  payment, please note that due to executive orders regarding potentially unallowable grant

  payments, PMS is taking additional measures to process grant payments. Reviews of applicable

  programs and payments will result in delays and/or rejections of payments.” A true and accurate

  copy of the email is attached hereto as Exhibit C.

         13.​    This request for funding includes critical public health programs, such as lead

  poisoning prevention, hospital emergency preparedness, cancer prevention and control,

  immunizations, emerging infections, laboratory capacity, environmental public health tracking,

  and public health workforce. Additionally, funds for the Ryan White program, which provides

  services and supports for individuals who have tested positive for HIV/AIDS, are included in this

  pending request, and total $569,897.07.

         14.​    Failure to approve these payment requests, which are all part of approved grants

  issued by the Department of Health and Human Services, could result in a stoppage of work in

  one or more of the programs, which may have serious, direct consequences for Coloradans who

  benefit from these programs. Programs such as the Ryan White program provide HIV+

  individuals with access to necessary medication. Laboratory testing to confirm sources of



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  contamination or disease would be reduced or stopped. Data collection for lead poisoning would

  be reduced, resulting in less community awareness of lead poisoning and fewer public health

  resources available to educate others about the risks of lead poisoning, which for children can

  have lifelong impacts or could result in death.



  SIGNED UNDER THE PENALTIES OF PERJURY THIS 5th DAY OF FEBRUARY,
  2025.
                                                Erick
                                              Digitally signed by
                                                           Erick Scheminske

                                                Scheminske
                                                ​     ​
                                                           Date: 2025.02.05
                                                        ​ 18:00:09
                                                                ​ -07'00'​
                                                Erick Scheminske
                                                Chief Operating Officer, Colorado Department of
                                                Public Health and Environment




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  Scheminske Declaration Exhibit A                                 #: 5887
                                                                                                                    4L - 96894923 - 0   Page 1
                                                                                 GRANT NUMBER (FAIN):           96894923
                                                                                 MODIFICATION NUMBER:           0                   DATE OF AWARD
                            U.S. ENVIRONMENTAL                                   PROGRAM CODE:                  4L                  10/27/2023
                                                                                 TYPE OF ACTION                                     MAILING DATE
                            PROTECTION AGENCY                                    New                                                11/01/2023
                                      Grant Agreement                            PAYMENT METHOD:                                    ACH#
                                                                                 ASAP                                               80008
RECIPIENT TYPE:                                                                  Send Payment Request to:
State                                                                            Contact EPA RTPFC at: rtpfc-grants@epa.gov
RECIPIENT:                                                                       PAYEE:
CO Water Resources & Power Development Authority                                 CO Water Resources & Power Development Authority
1580 N. Logan Street, Suite 820                                                  1580 N. Logan Street, Suite 820
Denver, CO 80203-1939                                                            Denver, CO 80203-1939
EIN: XX-XXXXXXX
PROJECT MANAGER                                       EPA PROJECT OFFICER                                   EPA GRANT SPECIALIST
Mark Henderson                                        Jennifer Berig                                        John Hurla
4300 Cherry Creek Drive South                         1595 Wynkoop Street                                   1595 Wynkoop Street
Denver, CO 80246-1523                                 Denver, CO 80202-1129                                 Denver, CO 80202-1129
Email: Mark.Henderson@state.co.us                     Email: Berig.Jennifer@epa.gov                         Email: hurla.john@epa.gov
Phone: 720-258-6450                                   Phone: 303-312-6262                                   Phone: 303-312-7047
PROJECT TITLE AND DESCRIPTION

Bipartisan Infrastructure Law: Drinking Water State Revolving Fund - Lead Service Line Replacement

See Attachment 1 for project description.

BUDGET PERIOD                           PROJECT PERIOD                           TOTAL BUDGET PERIOD COST                 TOTAL PROJECT PERIOD COST
11/01/2022 - 10/31/2029                 11/01/2022 - 10/31/2029                  $ 32,600,000.00                          $ 32,600,000.00

                                                                 NOTICE OF AWARD
Based on your Application dated 09/27/2023 including all modifications and amendments, the United States acting by and through the US Environmental
Protection Agency (EPA) hereby awards $ 32,600,000.00. EPA agrees to cost-share 100.00% of all approved budget period costs incurred, up to and not
exceeding total federal funding of $ 32,600,000.00. Recipient's signature is not required on this agreement. The recipient demonstrates its commitment to carry
out this award by either: 1) drawing down funds within 21 days after the EPA award or amendment mailing date; or 2) not filing a notice of disagreement with
the award terms and conditions within 21 days after the EPA award or amendment mailing date. If the recipient disagrees with the terms and conditions
specified in this award, the authorized representative of the recipient must furnish a notice of disagreement to the EPA Award Official within 21 days after the
EPA award or amendment mailing date. In case of disagreement, and until the disagreement is resolved, the recipient should not draw down on the funds
provided by this award/amendment, and any costs incurred by the recipient are at its own risk. This agreement is subject to applicable EPA regulatory and
statutory provisions, all terms and conditions of this agreement and any attachments.

        ISSUING OFFICE (GRANTS MANAGEMENT OFFICE)                                                  AWARD APPROVAL OFFICE
ORGANIZATION / ADDRESS                                                           ORGANIZATION / ADDRESS
U.S. EPA, Region 8, Environmental Protection Agency, Region 8                    U.S. EPA, Region 8, Environmental Protection Agency, Region 8
1595 Wynkoop Street                                                              R8 - Region 8
Denver, CO 80202-1129                                                            1595 Wynkoop Street
                                                                                 Denver, CO 80202
                               THE UNITED STATES OF AMERICA BY THE U.S. ENVIRONMENTAL PROTECTION AGENCY
Digital signature applied by EPA Award Official Sarah Hulstein                                                                                   DATE
                                                                                                                                                 10/27/2023
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                                                          EPA Funding Information
              FUNDS                                       FORMER AWARD                                THIS ACTION                         AMENDED TOTAL
EPA Amount This Action                                                      $0                         $ 32,600,000                            $ 32,600,000
EPA In-Kind Amount                                                          $0                                    $0                                     $0
Unexpended Prior Year Balance                                               $0                                    $0                                     $0
Other Federal Funds                                                         $0                                    $0                                     $0
Recipient Contribution                                                      $0                                    $0                                     $0
State Contribution                                                          $0                                    $0                                     $0
Local Contribution                                                          $0                                    $0                                     $0
Other Contribution                                                          $0                                    $0                                     $0
Allowable Project Cost                                                      $0                         $ 32,600,000                            $ 32,600,000



Assistance Program (CFDA)                            Statutory Authority                                   Regulatory Authority
66.468 - Capitalization Grants for Drinking Water    Safe Drinking Water Act: Sec. 1452 & Infrastructure   2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR
State Revolving Funds                                Investment and Jobs Act (IIJA) (PL 117-58)            35 Subpart L




                                                                             Fiscal
                                                            Approp.          Budget                   Object                      Cost         Obligation /
          Site Name                   Req No         FY                                     PRC                 Site/Project
                                                             Code          Organization               Class                    Organization    Deobligation
23DF                               2408TTB005       23     E3SD            08T1           000B81X71   4109     23DF            -                $ 3,260,000
23DD                               2408TTB005       23     E3SD            08T1           000B81X71   4109     23DD            -                $ 1,304,000
23DA                               2408TTB005       23     E3SD            08T1           000B81X71   4109     23DA            -               $ 28,036,000
                                                                                                                                               $ 32,600,000
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Budget Summary Page
                                       Table A - Object Class Category                                Total Approved Allowable
                                             (Non-Construction)                                          Budget Period Cost
 1. Personnel                                                                                                                       $0
 2. Fringe Benefits                                                                                                                 $0
 3. Travel                                                                                                                          $0
 4. Equipment                                                                                                                       $0
 5. Supplies                                                                                                                        $0
 6. Contractual                                                                                                                     $0
 7. Construction                                                                                                                    $0
 8. Other                                                                                                                 $ 32,600,000
 9. Total Direct Charges                                                                                                  $ 32,600,000
 10. Indirect Costs: 0.00 % Base                                                                                                    $0
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                100.00 %)                                                                 $ 32,600,000
 12. Total Approved Assistance Amount                                                                                     $ 32,600,000
 13. Program Income                                                                                                                 $0
 14. Total EPA Amount Awarded This Action                                                                                 $ 32,600,000
 15. Total EPA Amount Awarded To Date                                                                                     $ 32,600,000
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                                  Attachment 1 - Project Description
This agreement provides funding to the Colorado Water Resources and Power Development Authority.
Safe Drinking Water Act (SDWA): Section 1452 and Infrastructure Investment and Jobs Act (IIJA) PL
117-58 authorizes the state to utilize funds to further the health protection objectives of SDWA. This
agreement will provide funds to capitalize the recipient’s DWSRF with an emphasis on lead service line
replacement and associated activities directly connected to the identification, planning, design, and
replacement of lead service lines. As part of this agreement, the state ensures compliance with federal
and state regulations, which are designed to protect public health.The state has submitted an Intended
Use Plan (IUP) as part of the application package for this capitalization grant. This agreement will
provide funds to capitalize the recipient’s DWSRF with an emphasis on lead service line replacement
and associated activities directly connected to the identification, planning, design, and replacement of
lead service lines. This IUP contains a list of the capital projects that may receive funding from this grant
and a description of the eligible activities funded by the set-asides.

The benefits of this grant will be to capitalize the recipient’s DWSRF with an emphasis on lead service
line replacement and associated activities directly connected to the identification, planning, design, and
replacement of lead service lines. The fund can be used to develop or update lead service line
inventories and provide technical assistance to small water systems undertaking lead service line
inventories or construction projects. These public health benefits will be statewide.

The state has submitted an Intended Use Plan (IUP) as part of the application package for this
capitalization grant. This agreement will provide funds to capitalize the recipient’s DWSRF with an
emphasis on lead service line replacement and associated activities directly connected to the
identification, planning, design, and replacement of lead service lines. This IUP contains a list of the
capital projects that may receive funding from this grant and a description of the eligible activities funded
by the set-asides.
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                                                   Administrative Conditions
National Administrative Terms and Conditions


General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available at: https:
//www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2023-or-later.

These terms and conditions are in addition to the assurances and certifications made as a part of the
award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.epa.
gov/grants/grant-terms-and-conditions#general.


A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for approval, or notifications
to EPA. Unless otherwise noted, all such correspondence should be sent to the following email addresses:

          • Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and to the Grants Managment Specialist, Chris
          Barnes, at Barnes.Christopher@epa.gov .

          • MBE/WBE reports (EPA Form 5700-52A): Grants Managment Specialist, Chris Barnes, at Barnes.
          Christopher@epa.gov .

          • All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of the Budget
          and Project Period, Amendment Requests, Requests for other Prior Approvals, updates to recipient information
          (including email addresses, changes in contact information or changes in authorized representatives) and other
          notifications: Project Officer, Jennifer Berig, at Berig.Jennifer@epa.gov and Grants Management Specialist,
          Chris Barnes at Barnes.Christopher@epa.gov .

          • Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
          deliverables: Project Officer, Jennifer Berig, at Berig.Jennifer@epa.gov.
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                                      Programmatic Conditions
   FFY 2023 BIL/IIJA DWSRF Lead Service Line Replacement Programmatic Terms and Conditions



A. Payment Schedule

The recipient agrees to accept grant funds that will be released by EPA utilizing the ASAP payment
method. Access to these funds will be in accordance with the following schedule:

                        Colorado DWSRF BIL LSL FY23 Payment Schedule
        1QFY24              2QFY24        3QFY24         4QFY24         TOTAL
      $32,600,000        $0            $0             $0             $32,600,000

B. Intended Use Plan and Operating Agreement

The entire contents of the Bipartisan Infrastructure Law (BIL)/Infrastructure Investment and Jobs Act
(IIJA) Lead Service Line Replacement SFY 2023 Intended Use Plan (IUP) and (if applicable) the
Operating Agreement (OA) are incorporated hereto by reference and made a part of this Assistance
Agreement. For a project or activity to be eligible for funding under this appropriation, it must be
otherwise be eligible under the Drinking Water State Revolving Fund (DWSRF) program and be a lead
service line replacement (LSLR) project or associated activity directly connected to the identification,
planning, design, and replacement of lead service lines.

C. Amended Cash Draw Proportionality

As of November 18, 2022, recipients are no longer required to comply with the cash draw rules in the
Clean Water State Revolving Fund (CWSRF) regulations at 40 CFR 35.3155(d)(5)(i) and (ii) and 40 CFR
35.3160(b)(2)-(4) and Drinking Water State Revolving Fund (DWSRF) regulations at 40 CFR 35.3560(f)
and (g) and 40 CFR 35.3565(b). For further details on this change, see the linked notification memo from
Division Directors Raffael Stein and Anita Maria Thompkins dated November 30, 2022.

D. Set-Aside Work Plan

The recipient agrees to perform the activities identified and specified in the work program plan, which is
made part of this Assistance Agreement. Set-asides under this appropriation must be used to either
administer this capitalization grant or meet the statutory purpose of these funds: “for lead service line

replacement projects and associated activities directly connected to the identification, planning, design,
and replacement of lead service lines.”

E. Set-Aside Sub-Grants and Contracts

The recipient shall provide or make available to the Region 8 Drinking Water Branch Chief copies of the
work plans associated with grants and contracts that it may enter into with other agencies and
organizations related to activities conducted under this grant. In its semi-annual report, the grant
recipient shall include a summary description of activities completed under grants and contracts entered
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into with funds made available under the grant.

F. Travel

EPA approves the use of Federal funds for travel budgeted in capitalization grants for implementing the
Drinking Water SRF (DWSRF) program. The recipient agrees to use Federal funds to participate in
training and professional development activities integral to the effective implementation and management
of the DWSRF program.

G. SRF Data System and Public Health Benefits Reporting

The recipient agrees to input data, as required by EPA, into the SRF Data System. The recipient of
funds for the SRF BIL, also known as the IIJA, 2021, P.L. 117-58, agrees to comply with all requests for
data related to the use of the funds under Section 1452 of the Safe Drinking Water Act (SDWA), and to
report all uses of the funds no less than quarterly, as the Environmental Protection Agency specifies for
the SRF Data System. This reporting shall include but not be limited to data with respect to compliance
with the DWSRF discretionary Green Project Reserve and additional subsidization requirements as
specified in P.L. 117-328 (the Consolidated Appropriations Act, 2023), and P.L. 117-58, respectively.
EPA agrees to provide technical assistance to the State in its use of the SRF Data System.

H. Biennial/Annual Reporting

In accordance with 2 CFR 200.328 and 40 CFR 35.3570, the recipient agrees to provide in its
Biennial/Annual Report information regarding key project characteristics, milestones, and
environmental/public health protection results in the following areas: 1) achievement of the outputs and
outcomes established in the IUP; 2) the reasons for delays if established outputs or outcomes were not
met; 3) any additional pertinent information on environmental/public health results; 4) compliance with
the Green Project Reserve discretionary requirement; and 5) use of additional subsidization.

I. Set-Aside Reporting

The recipient agrees to provide to the Region 8 Drinking Water Branch Chief an annual report on the set-
aside activities funded under this grant. These reports shall be provided annually each year the grant is
in effect.

J. Program Income from Administrative Fees

The recipient agrees to maintain program income resulting from program operations generated during
the project period (e.g., administrative fees collected from DWSRF project loan recipients) in an account
separate from the DWSRF project loan fund. In addition, the recipient agrees that such program income
shall be used only for purposes related to the administration of the DWSRF program or other purposes
authorized pursuant to EPA regulations.

K. SIGNAGE REQUIRED

1. Signage Requirements

       a. Investing in America Emblem: The recipient will ensure that a sign is placed at construction
       sites supported in whole or in part by this award displaying the official Investing in America
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       emblem and must identify the project as a “project funded by President Biden's Bipartisan
       Infrastructure Law” or “project funded by President Biden's Inflation Reduction Act” as applicable.
       The sign must be placed at construction sites in an easily visible location that can be directly
       linked to the work taking place and must be maintained in good condition throughout the
       construction period.

       The recipient will ensure compliance with the guidelines and design specifications provided by
       EPA for using the official Investing in America emblem available at: https://www.epa.
       gov/invest/investing-america-signage.

       b. Procuring Signs: Consistent with section 6002 of RCRA, 42 U.S.C. 6962, and 2 CFR 200.323,
       recipients are encouraged to use recycled or recovered materials when procuring signs. Signage
       costs are considered an allowable cost under this assistance agreement provided that the costs
       associated with signage are reasonable. Additionally, to increase public awareness of projects
       serving communities where English is not the predominant language, recipients are encouraged
       to translate the language on signs (excluding the official Investing in America emblem or EPA
       logo or seal) into the appropriate non-English language(s). The costs of such translation are
       allowable, provided the costs are reasonable.

2. Public or Media Events

EPA encourages the recipient to notify the EPA Project Officer listed in this award document of public or
media events publicizing the accomplishment of significant events related to construction projects as a
result of this agreement and provide the opportunity for attendance and participation by federal
representatives with at least ten (10) working days' notice.

L. Additional Subsidization

The recipient agrees to use 49 percent of the funds made available in the capitalization grant to provide
additional subsidy to disadvantaged communities as described in section 1452(d) of the Safe Drinking
Water Act (SDWA) in the form of forgiveness of principal or grants (or any combination of these), which
shall be used only where such funds are provided as initial financing for an eligible recipient or to buy,
refinance, or restructure the debt obligations of eligible recipients only where such debt was incurred
after November 15, 2021.

M. Full Lead Service Line Replacement

The recipient agrees to ensure that any project funded in whole or in part under this capitalization grant
involving LSLR must replace the entire lead service line, not just a portion, unless a portion has already
been replaced or is concurrently being replaced with another funding source.

N. Green Project Reserve

The recipient agrees that the funds provided by this capitalization grant may, at the discretion of the
recipient, be used for projects to address green infrastructure, water or energy efficiency improvements,
or other environmentally innovative activities.

O. Geospatial Data Standards
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All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at www.fgdc.gov.

P. American Iron and Steel (AIS)

(a) Definitions. As used in this award term and condition—

       (1) “iron and steel products” mean the following products made primarily of iron or steel: lined or
       unlined pipes and fittings, manhole covers and other municipal castings, hydrants, tanks, flanges,
       pipe clamps and restraints, valves, structural steel, reinforced precast concrete, and construction
       materials.

       (2) “steel” means an alloy that includes at least 50 percent iron, between .02 and 2 percent
       carbon, and may include other elements.

(b) Domestic preference.

       (1) This award term and condition implements the Safe Drinking Water Act, section 1452(a)(4),
       by requiring that all iron and steel products used for a project for the construction, alteration,
       maintenance or repair of a public water system are produced in the United States except as
       provided in paragraph (b)(2) of this section and condition.

       (2) This requirement shall not apply in any case or category of cases in which the Administrator of
       the Environmental Protection Agency finds that—

               (i) applying the requirement would be inconsistent with the public interest;

               (ii) iron and steel products are not produced in the United States in sufficient and
               reasonably available quantities and of a satisfactory quality; or

               (iii) inclusion of iron and steel products produced in the United States will increase the
               cost of the overall project by more than 25 percent.

       (3) The Build America, Buy America (BABA) Act requirement does not supersede the AIS
       requirement, and both provisions still apply and work in conjunction.

(c) Request for a Waiver under (b)(2) of this section

       (1) Any recipient request to use foreign iron or steel products in accordance with paragraph (b)(2)
       of this section shall include adequate information for Federal Government evaluation of the
       request, including—

               (A) A description of the foreign and domestic iron, steel, and/or manufactured goods;

               (B) Unit of measure;

               (C) Quantity;

               (D) Cost;
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               (E) Time of delivery or availability;

               (F) Location of the project;

               (G) Name and address of the proposed supplier; and

               (H) A detailed justification of the reason for use of foreign iron or steel products cited in
               accordance with paragraph (b)(2) of this section.

       (2) If the Administrator receives a request for a waiver under this section, the waiver request shall
       be made available to the public for at least 15 days prior to making a finding based on the
       request.

       (3) Unless the Administrator issues a waiver of this term, use of foreign iron and steel products is
       noncompliant with the Safe Drinking Water Act, section 1452(a)(4).

(d) This term and condition shall be applied in a manner consistent with United States obligations under
international agreements.

Q. State Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this assistance
agreement, it will protect the data by following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the recipient's network or information system and
EPA networks used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an
Agency IT system and an external IT system for the purpose of transferring information. Transitory, user-
controlled connections such as website browsing are excluded from this definition.

If the recipient's connections as defined above do not go through the Environmental Information
Exchange Network or EPA's Central Data Exchange, the recipient agrees to contact the EPA Project
Officer (PO) and work with the designated Regional/Headquarters Information Security Officer to ensure
that the connections meet EPA security requirements, including entering into Interconnection Service
Agreements as appropriate. This condition does not apply to manual entry of data by the recipient into
systems operated and used by EPA's regulatory programs for the submission of reporting and/or
compliance data.

(2) The recipient agrees that any sub-awards it makes under this agreement will require the subrecipient
to comply with the requirements in (b)(1) if the sub-recipient's network or information system is
connected to EPA networks to transfer data to the Agency using systems other than the Environmental
Information Exchange Network or EPA's Central Data Exchange. The recipient will be in compliance with
this condition: by including this requirement in sub-award agreements; and during subrecipient
monitoring deemed necessary by the recipient under 2 CFR 200.331(d), by inquiring whether the
subrecipient has contacted the EPA Project Officer. Nothing in this condition requires the recipient to
contact the EPA Project Officer on behalf of a subrecipient or to be involved in the negotiation of an
Interconnection Service Agreement between the subrecipient and EPA.
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R. Internal Controls for Financial Transactions

The recipient agrees to use procedures consistent with “zero-trust” (never trust, always verify) for all
financial transactions with SRF funds. These procedures must include verbal verification with a trusted
recipient representative of all financial account information both initially and prior to any changes in
financial account information.

S. Wage Rate Requirements

The recipient agrees to include in all agreements to provide assistance for any construction project
carried out in whole or in part with such assistance made available by a drinking water revolving loan
fund as authorized by Section 1452 of the Safe Drinking Water Act (42 U.S.C. 300j-12), a term and
condition requiring compliance with the requirements of Section 1450(e) of the Safe Drinking Water Act
(42 U.S.C.300j-9(e)) in all procurement contracts and sub-grants, and require that loan recipients,
procurement contractors and sub-grantees include such a term and condition in subcontracts and other
lower tiered transactions. All contracts and subcontracts for any construction project carried out in whole
or in part with assistance made available as stated herein shall insert in full in any contract in excess of
$2,000 the contract clauses as attached hereto entitled “Wage Rate Requirements Under The Clean
Water Act, Section 513 and the Safe Drinking Water Act, Section 1450(e).” This term and condition
applies to all agreements to provide assistance under the authorities referenced herein, whether in the
form of a loan, bond purchase, grant, or any other vehicle to provide financing for a project, where such
agreements are executed on or after October 30, 2009.

Preamble

With respect to the DWSRF program, EPA provides capitalization grants to each State which in turn
provides sub grants or loans to eligible entities within the State. Typically, the sub recipients are
municipal or other local governmental entities that manage the funds. For these types of recipients, the
provisions set forth under Roman numeral I, below, shall apply. Although EPA and the State remain
responsible for ensuring sub recipients' compliance with the wage rate requirements set forth herein,
those sub recipients shall have the primary responsibility to maintain payroll records as described in
Section I-3(ii)(A), below and for compliance as described in Section I-5.

Occasionally, the sub recipient may be a private for profit or not for profit entity. For these types of
recipients, the provisions set forth in Roman Numeral II, below, shall apply. Although EPA and the State
remain responsible for ensuring sub recipients' compliance with the wage rate requirements set forth
herein, those sub recipients shall have the primary responsibility to maintain payroll records as described
in Section II-3(ii)(A), below and for compliance as described in Section II-5.
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                                             ATTACHMENT 1

I. Requirements Under Section 1452(a)(5) of the Safe Drinking Water Act For Sub recipients That Are
Governmental Entities:

The following terms and conditions specify how recipients will assist EPA in meeting its Davis-Bacon
(DB) responsibilities when DB applies to EPA awards of financial assistance with respect to State
recipients and sub recipients that are governmental entities. If a sub recipient has questions regarding
when DB applies, obtaining the correct DB wage determinations, DB provisions, or compliance
monitoring, it may contact the State recipient. If a State recipient needs guidance, the recipient may
contact EPA's Office of Grants and Debarment for guidance at EPA_Grants_Info@epa.gov. The
recipient or sub recipient may also obtain additional guidance from U.S. Department of Labor's (DOL)
website at http://www.dol.gov/whd/

1. Applicability of the DB prevailing wage requirements.

DB prevailing wage requirements apply to the construction, alteration, and repair of treatment works
carried out in whole or in part with assistance made available by a State water pollution control revolving
fund and to any construction project carried out in whole or in part by assistance made available by a
drinking water treatment revolving loan fund. If a sub recipient encounters a unique situation at a site that
presents uncertainties regarding DB applicability, the sub recipient must discuss the situation with the
recipient State before authorizing work on that site.

2. Obtaining Wage Determinations.

(a) Sub recipients shall obtain the wage determination for the locality in which a covered activity subject
to DB will take place prior to issuing requests for bids, proposals, quotes or other methods for soliciting
contracts (solicitation) for activities subject to DB. These wage determinations shall be incorporated into
solicitations and any subsequent contracts. Prime contracts must contain a provision requiring that
subcontractors follow the wage determination incorporated into the prime contract.

       (i) While the solicitation remains open, the sub recipient shall monitor https://sam.gov/ weekly to
       ensure that the wage determination contained in the solicitation remains current. The sub
       recipients shall amend the solicitation if DOL issues a modification more than 10 days prior to the
       closing date (i.e. bid opening) for the solicitation. If DOL modifies or supersedes the applicable
       wage determination less than 10 days prior to the closing date, the sub recipients may request a
       finding from the State recipient that there is not a reasonable time to notify interested contractors
       of the modification of the wage determination. The State recipient will provide a report of its
       findings to the sub recipient.

       (ii) If the sub recipient does not award the contract within 90 days of the closure of the solicitation,
       any modifications or supersedes DOL makes to the wage determination contained in the
       solicitation shall be effective unless the State recipient, at the request of the sub recipient, obtains
       an extension of the 90-day period from DOL pursuant to 29 CFR 1.6(c)(3)(iv). The sub recipient
       shall monitor https://sam.gov/ on a weekly basis if it does not award the contract within 90 days of
       closure of the solicitation to ensure that wage determinations contained in the solicitation remain
       current.
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(b) If the sub recipient carries out activity subject to DB by issuing a task order, work assignment or
similar instrument to an existing contractor (ordering instrument) rather than by publishing a solicitation,
the sub recipient shall insert the appropriate DOL wage determination from https://sam.gov/ into the
ordering
instrument.
(c) Sub recipients shall review all subcontracts subject to DB entered into by prime contractors to verify
that the prime contractor has required its subcontractors to include the applicable wage determinations.

(d) As provided in 29 CFR 1.6(f), DOL may issue a revised wage determination applicable to a sub
recipient's contract after the award of a contract or the issuance of an ordering instrument if DOL
determines that the sub recipient has failed to incorporate a wage determination or has used a wage
determination that clearly does not apply to the contract or ordering instrument. If this occurs, the sub
recipient shall either terminate the contract or ordering instrument and issue a revised solicitation or
ordering instrument or incorporate DOL's wage determination retroactive to the beginning of the contract
or ordering instrument by change order. The sub recipient's contractor must be compensated for any
increases in wages resulting from the use of DOL's revised wage determination.

3. Contract and Subcontract provisions.

(a) The Recipient shall insure that the sub recipient(s) shall insert in full in any contract in excess of
$2,000 which is entered into for the actual construction, alteration and/or repair, including painting and
decorating, of a treatment work under the CWSRF or a construction project carried out in whole or in part
with assistance made available by the DWSRF, and which is subject to the labor standards provisions of
any of the acts listed in § 5.1 or the Safe Drinking Water Act, Section 1452(a)(5), the following clauses:

(1) Minimum wages.

       (i) All laborers and mechanics employed or working upon the site of the work will be paid
       unconditionally and not less often than once a week, and without subsequent deduction or rebate
       on any account (except such payroll deductions as are permitted by regulations issued by the
       Secretary of Labor under the Copeland Act (29 CFR part 3)), the full amount of wages and bona
       fide fringe benefits (or cash equivalents thereof) due at time of payment computed at rates not
       less than those contained in the wage determination of the Secretary of Labor which is attached
       hereto and made a part hereof, regardless of any contractual relationship which may be alleged
       to exist between the contractor and such laborers and mechanics.

       Contributions made or costs reasonably anticipated for bona fide fringe benefits under section 1
       (b)(2) of the DB Act on behalf of laborers or mechanics are considered wages paid to such
       laborers or mechanics, subject to the provisions of paragraph (a)(1)(iv) of this section; also,
       regular contributions made or costs incurred for more than a weekly period (but not less often
       than quarterly) under plans, funds, or programs which cover the particular weekly period, are
       deemed to be constructively made or incurred during such weekly period. Such laborers and
       mechanics shall be paid the appropriate wage rate and fringe benefits on the wage determination
       for the classification of work actually performed, without regard to skill, except as provided in §
       5.5(a)(4). Laborers or mechanics performing work in more than one classification may be
       compensated at the rate specified for each classification for the time actually worked therein:
       Provided that the employer's payroll records accurately set forth the time spent in each
       classification in which work is performed. The wage determination (including any additional
       classification and wage rates conformed under paragraph (a)(1)(ii) of this section) and the DB
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poster (WH-1321) shall be posted at all times by the contractor and its subcontractors at the site
of the work in a prominent and accessible place where it can be easily seen by the workers.

Sub recipients may obtain wage determinations from DOL's website, https://sam.gov/.

(ii)(A) The sub recipient(s), on behalf of EPA, shall require that any class of laborers or
mechanics, including helpers, which is not listed in the wage determination and which is to be
employed under the contract shall be classified in conformance with the wage determination. The
State award official shall approve a request for an additional classification and wage rate and
fringe benefits therefore only when the following criteria have been met:

       (1) The work to be performed by the classification requested is not performed by a
       classification in the wage determination; and

       (2) The classification is utilized in the area by the construction industry; and

       (3) The proposed wage rate, including any bona fide fringe benefits, bears a reasonable
       relationship to the wage rates contained in the wage determination.

(B) If the contractor and the laborers and mechanics to be employed in the classification (if
known), or their representatives, and the sub recipient(s) agree on the classification and wage
rate (including the amount designated for fringe benefits where appropriate), documentation of
the action taken and the request, including the local wage determination shall be sent by the sub
recipient (s) to the State award official. The State award official will transmit a completed
conformance request form (SF-1444 or similar) and supporting materials to WHD-
CBACONFORMANCE_INCOMING@dol.gov and to the EPA DB Regional Coordinator
concurrently. The DOL Administrator, or an authorized representative, will approve, modify, or
disapprove every additional classification request within 30 days of receipt and so advise the
State award official or will notify the State award official within the 30-day period that additional
time is necessary.

(C) In the event the contractor, the laborers or mechanics to be employed in the classification or
their representatives, and the sub recipient(s) do not agree on the proposed classification and
wage rate (including the amount designated for fringe benefits, where appropriate),
documentation of the action taken and the request, including the local wage determination shall
be sent by the sub recipient (s) to the State award official. The State award official will transmit a
completed conformance request form (SF-1444 or similar) which indicates the State award
official's disagreement and supporting materials to WHD-
CBACONFORMANCE_INCOMING@dol.gov and to the EPA DB Regional Coordinator
concurrently. The DOL Administrator, or an authorized representative, will issue a determination
within 30 days of receipt of the request and so advise the contracting officer or will notify the
contracting officer within the 30-day period that additional time is necessary.

(D) The wage rate (including fringe benefits where appropriate) determined pursuant to
paragraphs (a)(1)(ii)(B) or (C) of this section, shall be paid to all workers performing work in the
classification under this contract from the first day on which work is performed in the
classification.

(iii) Whenever the minimum wage rate prescribed in the contract for a class of laborers or
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       mechanics includes a fringe benefit which is not expressed as an hourly rate, the contractor shall
       either pay the benefit as stated in the wage determination or shall pay another bona fide fringe
       benefit or an hourly cash equivalent thereof.

       (iv) If the contractor does not make payments to a trustee or other third person, the contractor
       may consider as part of the wages of any laborer or mechanic the amount of any costs
       reasonably anticipated in providing bona fide fringe benefits under a plan or program, Provided,
       That the Secretary of Labor has found, upon the written request of the contractor, that the
       applicable standards of the DB Act have been met. The Secretary of Labor may require the
       contractor to set aside assets in a separate account for the meeting of obligations under the plan
       or program.

(2) Withholding. The sub recipient(s), shall upon written request of the EPA Award Official or an
authorized representative of the DOL, withhold or cause to be withheld from the contractor under this
contract or any other Federal contract with the same prime contractor, or any other federally-assisted
contract subject to DB prevailing wage requirements, which is held by the same prime contractor, so
much of the accrued payments or advances as may be considered necessary to pay laborers and
mechanics, including apprentices, trainees, and helpers, employed by the contractor or any
subcontractor the full amount of wages required by the contract. In the event of failure to pay any laborer
or mechanic, including any apprentice, trainee, or helper, employed or working on the site of the work, all
or part of the wages required by the contract, the EPA may, after written notice to the contractor,
sponsor, applicant, or owner, take such action as may be necessary to cause the suspension of any
further payment, advance, or guarantee of funds until such violations have ceased.

(3) Payrolls and basic records.

       (i) Payrolls and basic records relating thereto shall be maintained by the contractor during the
       course of the work and preserved for a period of three years thereafter for all laborers and
       mechanics working at the site of the work. Such records shall contain the name, address, and
       social security number of each such worker, his or her correct classification, hourly rates of
       wages paid (including rates of contributions or costs anticipated for bona fide fringe benefits or
       cash equivalents thereof of the types described in section 1(b)(2)(B) of the DB Act), daily and
       weekly number of hours worked, deductions made and actual wages paid. Whenever the
       Secretary of Labor has found under 29 CFR 5.5(a)(1)(iv) that the wages of any laborer or
       mechanic include the amount of any costs reasonably anticipated in providing benefits under a
       plan or program described in section 1(b)(2)(B) of the DB Act, the contractor shall maintain
       records which show that the commitment to provide such benefits is enforceable, that the plan or
       program is financially responsible, and that the plan or program has been communicated in
       writing to the laborers or mechanics affected, and records which show the costs anticipated or the
       actual cost incurred in providing such benefits. Contractors employing apprentices or trainees
       under approved programs shall maintain written evidence of the registration of apprenticeship
       programs and certification of trainee programs, the registration of the apprentices and trainees,
       and the ratios and wage rates prescribed in the applicable programs.

       (ii)(A) The contractor shall submit weekly, for each week in which any contract work is performed,
       a copy of all payrolls to the sub recipient, that is, the entity that receives the sub-grant or loan
       from the State capitalization grant recipient. Such documentation shall be available on request of
       the State recipient or EPA. As to each payroll copy received, the sub recipient shall provide
       written confirmation in a form satisfactory to the State indicating whether or not the project is in
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compliance with the requirements of 29 CFR 5.5(a)(1) based on the most recent payroll copies
for the specified week. The payrolls shall set out accurately and completely all of the information
required to be maintained under 29 CFR 5.5(a)(3)(i), except that full social security numbers and
home addresses shall not be included on the weekly payrolls. Instead, the payrolls shall only
need to include an individually identifying number for each employee (e.g., the last four digits of
the employee's social security number). The required weekly payroll information may be
submitted in any form desired. Optional Form WH-347 is available for this purpose from the
Wage and Hour Division website at http://www.dol.gov/whd/forms/wh347instr.htm or its
successor site.

The prime contractor is responsible for the submission of copies of payrolls by all subcontractors.
Contractors and subcontractors shall maintain the full social security number and current address
of each covered worker and shall provide them upon request to the sub recipient(s) for
transmission to the State or EPA if requested by EPA, the State, the contractor, or the Wage and
Hour Division of the DOL for purposes of an investigation or audit of compliance with prevailing
wage requirements. It is not a violation of this section for a prime contractor to require a
subcontractor to provide addresses and social security numbers to the prime contractor for its
own records, without weekly submission to the sub recipient(s).

(B) Each payroll submitted shall be accompanied by a “Statement of Compliance,” signed by the
contractor or subcontractor or his or her agent who pays or supervises the payment of the
persons employed under the contract and shall certify the following:

       (1) That the payroll for the payroll period contains the information required to be provided
       under § 5.5 (a)(3)(ii) of Regulations, 29 CFR part 5, the appropriate information is being
       maintained under § 5.5 (a)(3)(i) of Regulations, 29 CFR part 5, and that such information
       is correct and complete;

       (2) That each laborer or mechanic (including each helper, apprentice, and trainee)
       employed on the contract during the payroll period has been paid the full weekly wages
       earned, without rebate, either directly or indirectly, and that no deductions have been
       made either directly or indirectly from the full wages earned, other than permissible
       deductions as set forth in Regulations, 29 CFR part 3;

       (3) That each laborer or mechanic has been paid not less than the applicable wage rates
       and fringe benefits or cash equivalents for the classification of work performed, as
       specified in the applicable wage determination incorporated into the contract.

(C) The weekly submission of a properly executed certification set forth on the reverse side of
Optional Form WH-347 shall satisfy the requirement for submission of the “Statement of
Compliance” required by paragraph (a)(3)(ii)(B) of this section.

(D) The falsification of any of the above certifications may subject the contractor or subcontractor
to civil or criminal prosecution under section 1001 of title 18 and section 231 of title 31 of the
United States Code.

(iii) The contractor or subcontractor shall make the records required under paragraph (a)(3)(i) of
this section available for inspection, copying, or transcription by authorized representatives of the
State, EPA or the DOL, and shall permit such representatives to interview employees during
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       working hours on the job. If the contractor or subcontractor fails to submit the required records or
       to make them available, the EPA or State may, after written notice to the contractor, sponsor,
       applicant, or owner, take such action as may be necessary to cause the suspension of any
       further payment, advance, or guarantee of funds. Furthermore, failure to submit the required
       records upon request or to make such records available may be grounds for debarment action
       pursuant to 29 CFR 5.12.

(4) Apprentices and trainees

       (i) Apprentices. Apprentices will be permitted to work at less than the predetermined rate for the
       work they performed when they are employed pursuant to and individually registered in a bona
       fide apprenticeship program registered with the DOL, Employment and Training Administration,
       Office of Apprenticeship Training, Employer and Labor Services, or with a State Apprenticeship
       Agency recognized by the Office, or if a person is employed in his or her first 90 days of
       probationary employment as an apprentice in such an apprenticeship program, who is not
       individually registered in the program, but who has been certified by the Office of Apprenticeship
       Training, Employer and Labor Services or a State Apprenticeship Agency (where appropriate) to
       be eligible for probationary employment as an apprentice. The allowable ratio of apprentices to
       journeymen on the job site in any craft classification shall not be greater than the ratio permitted
       to the contractor as to the entire work force under the registered program. Any worker listed on a
       payroll at an apprentice wage rate, who is not registered or otherwise employed as stated above,
       shall be paid not less than the applicable wage rate on the wage determination for the
       classification of work actually performed. In addition, any apprentice performing work on the job
       site in excess of the ratio permitted under the registered program shall be paid not less than the
       applicable wage rate on the wage determination for the work actually performed. Where a
       contractor is performing construction on a project in a locality other than that in which its program
       is registered, the ratios and wage rates (expressed in percentages of the journeyman's hourly
       rate) specified in the contractor's or subcontractor's registered program shall be observed. Every
       apprentice must be paid at not less than the rate specified in the registered program for the
       apprentice's level of progress, expressed as a percentage of the journeymen hourly rate specified
       in the applicable wage determination. Apprentices shall be paid fringe benefits in accordance with
       the provisions of the apprenticeship program. If the apprenticeship program does not specify
       fringe benefits, apprentices must be paid the full amount of fringe benefits listed on the wage
       determination for the applicable classification. If the Administrator determines that a different
       practice prevails for the applicable apprentice classification, fringes shall be paid in accordance
       with that determination. In the event the Office of Apprenticeship Training, Employer and Labor
       Services, or a State Apprenticeship Agency recognized by the Office, withdraws approval of an
       apprenticeship program, the contractor will no longer be permitted to utilize apprentices at less
       than the applicable predetermined rate for the work performed until an acceptable program is
       approved.

       (ii) Trainees. Except as provided in 29 CFR 5.16, trainees will not be permitted to work at less
       than the predetermined rate for the work performed unless they are employed pursuant to and
       individually registered in a program which has received prior approval, evidenced by formal
       certification by the DOL, Employment and Training Administration. The ratio of trainees to
       journeymen on the job site shall not be greater than permitted under the plan approved by the
       Employment and Training Administration. Every trainee must be paid at not less than the rate
       specified in the approved program for the trainee's level of progress, expressed as a percentage
       of the journeyman hourly rate specified in the applicable wage determination. Trainees shall be
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        paid fringe benefits in accordance with the provisions of the trainee program. If the trainee
        program does not mention fringe benefits, trainees shall be paid the full amount of fringe benefits
        listed on the wage determination unless the Administrator of the Wage and Hour Division
        determines that there is an apprenticeship program associated with the corresponding
        journeyman wage rate on the wage determination which provides for less than full fringe benefits
        for apprentices. Any employee listed on the payroll at a trainee rate who is not registered and
        participating in a training plan approved by the Employment and Training Administration shall be
        paid not less than the applicable wage rate on the wage determination for the classification of
        work actually performed. In addition, any trainee performing work on the job site in excess of the
        ratio permitted under the registered program shall be paid not less than the applicable wage rate
        on the wage determination for the work actually performed. In the event the Employment and
        Training Administration withdraws approval of a training program, the contractor will no longer be
        permitted to utilize trainees at less than the applicable predetermined rate for the work performed
        until an acceptable program is approved.

        (iii) Equal employment opportunity. The utilization of apprentices, trainees and journeymen under
        this part shall be in conformity with the equal employment opportunity requirements of Executive
        Order 11246, as amended and 29 CFR part 30.

(5) Compliance with Copeland Act requirements. The contractor shall comply with the requirements of 29
CFR part 3, which are incorporated by reference in this contract.

(6) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses contained
in 29 CFR 5.5(a)(1) through (10) and such other clauses as the EPA determines may by appropriate, and
also a clause requiring the subcontractors to include these clauses in any lower tier subcontracts. The
prime contractor shall be responsible for the compliance by any subcontractor or lower tier subcontractor
with all the contract clauses in 29 CFR 5.5.

(7) Contract termination; debarment. A breach of the contract clauses in 29 CFR 5.5 may be grounds for
termination of the contract, and for debarment as a contractor and a subcontractor as provided in 29
CFR 5.12.

(8) Compliance with DB and Related Act requirements. All rulings and interpretations of the DB and
Related Acts contained in 29 CFR parts 1, 3, and 5 are herein incorporated by reference in this contract.

(9) Disputes concerning labor standards. Disputes arising out of the labor standards provisions of this
contract shall not be subject to the general disputes clause of this contract. Such disputes shall be
resolved in accordance with the procedures of the DOL set forth in 29 CFR parts 5, 6, and 7. Disputes
within the meaning of this clause include disputes between the contractor (or any of its subcontractors)
and sub recipient(s), State, EPA, DOL, or the employees or their representatives.

(10) Certification of eligibility.

        (i) By entering into this contract, the contractor certifies that neither it (nor he or she) nor any
        person or firm who has an interest in the contractor's firm is a person or firm ineligible to be
        awarded Government contracts by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).

        (ii) No part of this contract shall be subcontracted to any person or firm ineligible for award of a
        Government contract by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).
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        (iii) The penalty for making false statements is prescribed in the U.S. Criminal Code, 18 U.S.C.
        1001.

4. Contract Provision for Contracts in Excess of $100,000.

(a) Contract Work Hours and Safety Standards Act. The sub recipient shall insert the following clauses
set forth in paragraphs (a)(1), (2), (3), and (4) of this section in full in any contract in an amount in excess
of $100,000 and subject to the overtime provisions of the Contract Work Hours and Safety Standards
Act. These clauses shall be inserted in addition to the clauses required by Item 3, above or 29 CFR 4.6.
As used in this paragraph, the terms laborers and mechanics include watchmen and guards.

        (1) Overtime requirements. No contractor or subcontractor contracting for any part of the contract
        work which may require or involve the employment of laborers or mechanics shall require or
        permit any such laborer or mechanic in any workweek in which he or she is employed on such
        work to work in excess of forty hours in such workweek unless such laborer or mechanic receives
        compensation at a rate not less than one and one-half times the basic rate of pay for all hours
        worked in excess of forty hours in such workweek.

        (2) Violation; liability for unpaid wages; liquidated damages. In the event of any violation of the
        clause set forth in paragraph (a)(1) of this section the contractor and any subcontractor
        responsible therefore shall be liable for the unpaid wages. In addition, such contractor and
        subcontractor shall be liable to the United States (in the case of work done under contract for the
        District of Columbia or a territory, to such District or to such territory), for liquidated damages.
        Such liquidated damages shall be computed with respect to each individual laborer or mechanic,
        including watchmen and guards, employed in violation of the clause set forth in paragraph (a)(1)
        of this section, in the sum of $29 for each calendar day on which such individual was required or
        permitted to work in excess of the standard workweek of forty hours without payment of the
        overtime wages required by the clause set forth in paragraph (a)(1) of this section.

        (3) Withholding for unpaid wages and liquidated damages. The sub recipient, upon written
        request of the EPA Award Official or an authorized representative of the DOL, shall withhold or
        cause to be withheld, from any moneys payable on account of work performed by the contractor
        or subcontractor under any such contract or any other Federal contract with the same prime
        contractor, or any other federally-assisted contract subject to the Contract Work Hours and Safety
        Standards Act, which is held by the same prime contractor, such sums as may be determined to
        be necessary to satisfy any liabilities of such contractor or subcontractor for unpaid wages and
        liquidated damages as provided in the clause set forth in paragraph (a)(2) of this section.

        (4) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses set
        forth in paragraph (a)(1) through (4) of this section and also a clause requiring the subcontractors
        to include these clauses in any lower tier subcontracts. The prime contractor shall be responsible
        for compliance by any subcontractor or lower tier subcontractor with the clauses set forth in
        paragraphs (a)(1) through (4) of this section.

(b) In addition to the clauses contained in Item 3, above, in any contract subject only to the Contract
Work Hours and Safety Standards Act and not to any of the other statutes cited in 29 CFR 5.1, the Sub
recipient shall insert a clause requiring that the contractor or subcontractor shall maintain payrolls and
basic payroll records during the course of the work and shall preserve them for a period of three years
from the completion of the contract for all laborers and mechanics, including guards and watchmen,
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working on the contract. Such records shall contain the name and address of each such employee,
social security number, correct classifications, hourly rates of wages paid, daily and weekly number of
hours worked, deductions made, and actual wages paid. Further, the Sub recipient shall insert in any
such contract a clause providing that the records to be maintained under this paragraph shall be made
available by the contractor or subcontractor for inspection, copying, or transcription by authorized
representatives of the EPA and the DOL, and the contractor or subcontractor will permit such
representatives to interview employees during working hours on the job.

5. Compliance Verification

(a) The sub recipient shall periodically interview a sufficient number of employees entitled to DB
prevailing wages (covered employees) to verify that contractors or subcontractors are paying the
appropriate wage rates. As provided in 29 CFR 5.6(a)(3), all interviews must be conducted in
confidence. The sub recipient must use Standard Form 1445 (SF 1445) or equivalent documentation to
memorialize the interviews. Copies of the SF 1445 are available from EPA on request.

(b) The sub recipient shall establish and follow an interview schedule based on its assessment of the
risks of noncompliance with DB posed by contractors or subcontractors and the duration of the contract
or subcontract. Sub recipients must conduct more frequent interviews if the initial interviews or other
information indicated that there is a risk that the contractor or subcontractor is not complying with DB.

Sub recipients shall immediately conduct interviews in response to an alleged violation of the prevailing
wage requirements. All interviews shall be conducted in confidence.

(c) The sub recipient shall periodically conduct spot checks of a representative sample of weekly payroll
data to verify that contractors or subcontractors are paying the appropriate wage rates. The sub recipient
shall establish and follow a spot check schedule based on its assessment of the risks of noncompliance
with DB posed by contractors or subcontractors and the duration of the contract or subcontract. At a
minimum, if practicable, the sub recipient should spot check payroll data within two weeks of each
contractor or subcontractor's submission of its initial payroll data and two weeks prior to the completion
date the contract or subcontract. Sub recipients must conduct more frequent spot checks if the initial spot
check or other information indicates that there is a risk that the contractor or subcontractor is not
complying with DB. In addition, during the examinations the sub recipient shall verify evidence of fringe
benefit plans and payments there under by contractors and subcontractors who claim credit for fringe
benefit contributions.

(d) The sub recipient shall periodically review contractor's and subcontractor's use of apprentices and
trainees to verify registration and certification with respect to apprenticeship and training programs
approved by either the U.S DOL or a state, as appropriate, and that contractors and subcontractors are
not using disproportionate numbers of, laborers, trainees and apprentices. These reviews shall be
conducted in accordance with the schedules for spot checks and interviews described in Item 5(b) and
(c) above.

(e) Sub recipients must immediately report potential violations of the DB prevailing wage requirements to
the EPA DB contact listed above and to the appropriate DOL Wage and Hour District Office listed at
https://www.dol.gov/agencies/whd/contact/local-offices.

II. Requirements Under Section 1452(a)(5) of the Safe Drinking Water Act For Sub recipients That Are
Not Governmental Entities:
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The following terms and conditions specify how recipients will assist EPA in meeting its DB
responsibilities when DB applies to EPA awards of financial assistance under the Safe Drinking Water
Act, Section 1452(a)(5) with respect to sub recipients that are not governmental entities. If a sub
recipient has questions regarding when DB applies, obtaining the correct DB wage determinations, DB
provisions, or compliance monitoring, it may contact the State recipient for guidance. If a State recipient
needs guidance, the recipient may contact EPA's Office of Grants and Debarment for guidance at
EPA_Grants_Info@epa.gov The recipient or sub recipient may also obtain additional guidance from
DOL's website at http://www.dol.gov/whd/

Under these terms and conditions, the sub recipient must submit its proposed DB wage determinations
to the State recipient for approval prior to including the wage determination in any solicitation, contract
task orders, work assignments, or similar instruments to existing contractors.

1. Applicability of the Davis- Bacon (DB) prevailing wage requirements.

Under the Safe Drinking Water Act, Section 1452(a)(5), DB prevailing wage requirements apply to the
construction, alteration, and repair of treatment works carried out in whole or in part with assistance
made available by a State water pollution control revolving fund and to any construction project carried
out in whole or in part by assistance made available by a drinking water treatment revolving loan fund. If
a sub recipient encounters a unique situation at a site that presents uncertainties regarding DB
applicability, the sub recipient must discuss the situation with the recipient State before authorizing work
on that site.

2. Obtaining Wage Determinations.

(a) Sub recipients must obtain proposed wage determinations for specific localities at https://sam.
gov/. After the sub recipient obtains its proposed wage determination, it must submit the wage
determination to Mark Henderson, mark.henderson@state.co.us, 720-258-6450 for approval prior to
inserting the wage determination into a solicitation, contract or issuing task orders, work assignments or
similar instruments to existing contractors (ordering instruments unless subsequently directed otherwise
by the State recipient Award Official.)

(b) Sub recipients shall obtain the wage determination for the locality in which a covered activity subject
to DB will take place prior to issuing requests for bids, proposals, quotes or other methods for soliciting
contracts (solicitation) for activities subject to DB. These wage determinations shall be incorporated into
solicitations and any subsequent contracts. Prime contracts must contain a provision requiring that
subcontractors follow the wage determination incorporated into the prime contract.

       (i) While the solicitation remains open, the sub recipient shall monitor https://sam.gov/ on a
       weekly basis to ensure that the wage determination contained in the solicitation remains
       current. The sub recipients shall amend the solicitation if DOL issues a modification more than
       10 days prior to the closing date (i.e. bid opening) for the solicitation. If DOL modifies or
       supersedes the applicable wage determination less than 10 days prior to the closing date, the
       sub recipients may request a finding from the State recipient that there is not a reasonable time to
       notify interested contractors of the modification of the wage determination. The State recipient
       will provide a report of its findings to the sub recipient.

       (ii) If the sub recipient does not award the contract within 90 days of the closure of the solicitation,
       any modifications or supersedes DOL makes to the wage determination contained in the
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       solicitation shall be effective unless the State recipient, at the request of the sub recipient, obtains
       an extension of the 90-day period from DOL pursuant to 29 CFR 1.6(c)(3)(iv). The sub recipient
       shall monitor https://sam.gov/ on a weekly basis if it does not award the contract within 90 days of
       closure of the solicitation to ensure that wage determinations contained in the solicitation remain
       current.

(c) If the sub recipient carries out activity subject to DB by issuing a task order, work assignment or
similar instrument to an existing contractor (ordering instrument) rather than by publishing a solicitation,
the sub recipient shall insert the appropriate DOL wage determination from https://sam.gov/ into the
ordering instrument.

(d) Sub recipients shall review all subcontracts subject to DB entered into by prime contractors to verify
that the prime contractor has required its subcontractors to include the applicable wage determinations.

(e) As provided in 29 CFR 1.6(f), DOL may issue a revised wage determination applicable to a sub
recipient's contract after the award of a contract or the issuance of an ordering instrument if DOL
determines that the sub recipient has failed to incorporate a wage determination or has used a wage
determination that clearly does not apply to the contract or ordering instrument. If this occurs, the sub
recipient shall either terminate the contract or ordering instrument and issue a revised solicitation or
ordering instrument or incorporate DOL's wage determination retroactive to the beginning of the contract
or ordering instrument by change order. The sub recipient's contractor must be compensated for any
increases in wages resulting from the use of DOL's revised wage determination.

3. Contract and Subcontract provisions.

(a) The Recipient shall insure that the sub recipient(s) shall insert in full in any contract in excess of
$2,000 which is entered into for the actual construction, alteration and/or repair, including painting and
decorating, of a treatment work under the CWSRF or a construction project carried out in whole or in part
with assistance made available by the DWSRF, and which is subject to the labor standards provisions of
any of the acts listed in § 5.1 or the Safe Drinking Water Act, Section 1452(a)(5), the following clauses:

(1) Minimum wages.

       (i) All laborers and mechanics employed or working upon the site of the work, will be paid
       unconditionally and not less often than once a week, and without subsequent deduction or rebate
       on any account (except such payroll deductions as are permitted by regulations issued by the
       Secretary of Labor under the Copeland Act (29 CFR part 3) ), the full amount of wages and bona
       fide fringe benefits (or cash equivalents thereof) due at time of payment computed at rates not
       less than those contained in the wage determination of the Secretary of Labor which is attached
       hereto and made a part hereof, regardless of any contractual relationship which may be alleged
       to exist between the contractor and such laborers and mechanics.

       Contributions made or costs reasonably anticipated for bona fide fringe benefits under section 1
       (b)(2) of the DB Act on behalf of laborers or mechanics are considered wages paid to such
       laborers or mechanics, subject to the provisions of paragraph (a)(1)(iv) of this section; also,
       regular contributions made or costs incurred for more than a weekly period (but not less often
       than quarterly) under plans, funds, or programs which cover the particular weekly period, are
       deemed to be constructively made or incurred during such weekly period. Such laborers and
       mechanics shall be paid the appropriate wage rate and fringe benefits on the wage determination
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for the classification of work actually performed, without regard to skill, except as provided in §
5.5(a)(4). Laborers or mechanics performing work in more than one classification may be
compensated at the rate specified for each classification for the time actually worked
therein: Provided, that the employer's payroll records accurately set forth the time spent in each
classification in which work is performed. The wage determination (including any additional
classification and wage rates conformed under paragraph (a)(1)(ii) of this section) and the DB
poster (WH-1321) shall be posted at all times by the contractor and its subcontractors at the site
of the work in a prominent and accessible place where it can be easily seen by the workers.

Sub recipients may obtain wage determinations from DOL's website, https://sam.gov/.

(ii)(A) The sub recipient(s), on behalf of EPA, shall require that any class of laborers or
mechanics, including helpers, which is not listed in the wage determination and which is to be
employed under the contract shall be classified in conformance with the wage determination. The
State award official shall approve a request for an additional classification and wage rate and
fringe benefits therefore only when the following criteria have been met:

       (1) The work to be performed by the classification requested is not performed by a
       classification in the wage determination; and

       (2) The classification is utilized in the area by the construction industry; and

       (3) The proposed wage rate, including any bona fide fringe benefits, bears a reasonable
       relationship to the wage rates contained in the wage determination.

(B) If the contractor and the laborers and mechanics to be employed in the classification (if
known), or their representatives, and the sub recipient(s) agree on the classification and wage
rate (including the amount designated for fringe benefits where appropriate), documentation of
the action taken and the request, including the local wage determination shall be sent by the sub
recipient(s) to the State award official. The State award official will transmit a completed
conformance request form (SF-1444 or similar) and supporting materials to WHD-
CBACONFORMANCE_INCOMING@dol.gov and to the EPA DB Regional Coordinator
concurrently. The DOL Administrator, or an authorized representative, will approve, modify, or
disapprove every additional classification request within 30 days of receipt and so advise the
State award official or will notify the State award official within the 30-day period that additional
time is necessary.

(C) In the event the contractor, the laborers or mechanics to be employed in the classification or
their representatives, and the sub recipient(s) do not agree on the proposed classification and
wage rate (including the amount designated for fringe benefits, where appropriate),
documentation of the action taken and the request, including the local wage determination shall
be sent by the sub recipient (s) to the State award official. The State award official will transmit a
completed conformance request form (SF-1444 or similar) which indicates the State award
official's disagreement and supporting materials to WHD-
CBACONFORMANCE_INCOMING@dol.gov and to the EPA DB Regional Coordinator
concurrently. The DOL Administrator, or an authorized representative, will issue a determination
within 30 days of receipt of the request and so advise the contracting officer or will notify the
contracting officer within the 30-day period that additional time is necessary.
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       (D) The wage rate (including fringe benefits where appropriate) determined pursuant to
       paragraphs (a)(1)(ii)(B) or (C) of this section, shall be paid to all workers performing work in the
       classification under this contract from the first day on which work is performed in the
       classification.

       (iii) Whenever the minimum wage rate prescribed in the contract for a class of laborers or
       mechanics includes a fringe benefit which is not expressed as an hourly rate, the contractor shall
       either pay the benefit as stated in the wage determination or shall pay another bona fide fringe
       benefit or an hourly cash equivalent thereof.

       (iv) If the contractor does not make payments to a trustee or other third person, the contractor
       may consider as part of the wages of any laborer or mechanic the amount of any costs
       reasonably anticipated in providing bona fide fringe benefits under a plan or program, Provided,
       That the Secretary of Labor has found, upon the written request of the contractor, that the
       applicable standards of the DB Act have been met. The Secretary of Labor may require the
       contractor to set aside assets in a separate account for the meeting of obligations under the plan
       or program.

(2) Withholding. The sub recipient(s) shall upon written request of the EPA Award Official or an
authorized representative of the DOL, withhold or cause to be withheld from the contractor under this
contract or any other Federal contract with the same prime contractor, or any other federally-assisted
contract subject to DB prevailing wage requirements, which is held by the same prime contractor, so
much of the accrued payments or advances as may be considered necessary to pay laborers and
mechanics, including apprentices, trainees, and helpers, employed by the contractor or any
subcontractor the full amount of wages required by the contract. In the event of failure to pay any laborer
or mechanic, including any apprentice, trainee, or helper, employed or working on the site of the work, all
or part of the wages required by the contract, the EPA may, after written notice to the contractor,
sponsor, applicant, or owner, take such action as may be necessary to cause the suspension of any
further payment, advance, or guarantee of funds until such violations have ceased.

(3) Payrolls and basic records.

       (i) Payrolls and basic records relating thereto shall be maintained by the contractor during the
       course of the work and preserved for a period of three years thereafter for all laborers and
       mechanics working at the site of the work. Such records shall contain the name, address, and
       social security number of each such worker, his or her correct classification, hourly rates of
       wages paid (including rates of contributions or costs anticipated for bona fide fringe benefits or
       cash equivalents thereof of the types described in section 1(b)(2)(B) of the DB Act), daily and
       weekly number of hours worked, deductions made and actual wages paid. Whenever the
       Secretary of Labor has found under 29 CFR 5.5(a)(1)(iv) that the wages of any laborer or
       mechanic include the amount of any costs reasonably anticipated in providing benefits under a
       plan or program described in section 1(b)(2)(B) of the DB Act, the contractor shall maintain
       records which show that the commitment to provide such benefits is enforceable, that the plan or
       program is financially responsible, and that the plan or program has been communicated in
       writing to the laborers or mechanics affected, and records which show the costs anticipated or the
       actual cost incurred in providing such benefits. Contractors employing apprentices or trainees
       under approved programs shall maintain written evidence of the registration of apprenticeship
       programs and certification of trainee programs, the registration of the apprentices and trainees,
       and the ratios and wage rates prescribed in the applicable programs.
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(ii)(A) The contractor shall submit weekly, for each week in which any contract work is performed,
a copy of all payrolls to the sub recipient, that is, the entity that receives the sub-grant or loan
from the State capitalization grant recipient. Such documentation shall be available on request of
the State recipient or EPA. As to each payroll copy received, the sub recipient shall provide
written confirmation in a form satisfactory to the State indicating whether or not the project is in
compliance with the requirements of 29 CFR 5.5(a)(1) based on the most recent payroll copies
for the specified week. The payrolls shall set out accurately and completely all of the information
required to be maintained under 29 CFR 5.5(a)(3)(i), except that full social security numbers and
home addresses shall not be included on the weekly payrolls. Instead, the payrolls shall only
need to include an individually identifying number for each employee (e.g., the last four digits of
the employee's social security number). The required weekly payroll information may be
submitted in any form desired. Optional Form WH-347 is available for this purpose from the
Wage and Hour Division website at http://www.dol.gov/whd/forms/wh347instr.htm or its
successor site.

The prime contractor is responsible for the submission of copies of payrolls by all subcontractors.
Contractors and subcontractors shall maintain the full social security number and current address
of each covered worker and shall provide them upon request to the sub recipient(s) for
transmission to the State or EPA if requested by EPA, the State, the contractor, or the Wage and
Hour Division of the DOL for purposes of an investigation or audit of compliance with prevailing
wage requirements. It is not a violation of this section for a prime contractor to require a
subcontractor to provide addresses and social security numbers to the prime contractor for its
own records, without weekly submission to the sub recipient(s).

(B) Each payroll submitted shall be accompanied by a “Statement of Compliance,” signed by the
contractor or subcontractor or his or her agent who pays or supervises the payment of the
persons employed under the contract and shall certify the following:

       (1) That the payroll for the payroll period contains the information required to be provided
       under § 5.5 (a)(3)(ii) of Regulations, 29 CFR part 5, the appropriate information is being
       maintained under § 5.5 (a)(3)(i) of Regulations, 29 CFR part 5, and that such information
       is correct and complete;

       (2) That each laborer or mechanic (including each helper, apprentice, and trainee)
       employed on the contract during the payroll period has been paid the full weekly wages
       earned, without rebate, either directly or indirectly, and that no deductions have been
       made either directly or indirectly from the full wages earned, other than permissible
       deductions as set forth in Regulations, 29 CFR part 3;

       (3) That each laborer or mechanic has been paid not less than the applicable wage rates
       and fringe benefits or cash equivalents for the classification of work performed, as
       specified in the applicable wage determination incorporated into the contract.

(C) The weekly submission of a properly executed certification set forth on the reverse side of
Optional Form WH-347 shall satisfy the requirement for submission of the “Statement of
Compliance” required by paragraph (a)(3)(ii)(B) of this section.

(D) The falsification of any of the above certifications may subject the contractor or subcontractor
to civil or criminal prosecution under section 1001 of title 18 and section 231 of title 31 of the
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       United States Code.

       (iii) The contractor or subcontractor shall make the records required under paragraph (a)(3)(i) of
       this section available for inspection, copying, or transcription by authorized representatives of the
       State, EPA or the DOL, and shall permit such representatives to interview employees during
       working hours on the job. If the contractor or subcontractor fails to submit the required records or
       to make them available, the EPA or State may, after written notice to the contractor, sponsor,
       applicant, or owner, take such action as may be necessary to cause the suspension of any
       further payment, advance, or guarantee of funds. Furthermore, failure to submit the required
       records upon request or to make such records available may be grounds for debarment action
       pursuant to 29 CFR 5.12.

(4) Apprentices and trainees--

       (i) Apprentices. Apprentices will be permitted to work at less than the predetermined rate for the
       work they performed when they are employed pursuant to and individually registered in a bona
       fide apprenticeship program registered with the DOL, Employment and Training Administration,
       Office of Apprenticeship Training, Employer and Labor Services, or with a State Apprenticeship
       Agency recognized by the Office, or if a person is employed in his or her first 90 days of
       probationary employment as an apprentice in such an apprenticeship program, who is not
       individually registered in the program, but who has been certified by the Office of Apprenticeship
       Training, Employer and Labor Services or a State Apprenticeship Agency (where appropriate) to
       be eligible for probationary employment as an apprentice. The allowable ratio of apprentices to
       journeymen on the job site in any craft classification shall not be greater than the ratio permitted
       to the contractor as to the entire work force under the registered program. Any worker listed on a
       payroll at an apprentice wage rate, who is not registered or otherwise employed as stated above,
       shall be paid not less than the applicable wage rate on the wage determination for the
       classification of work actually performed. In addition, any apprentice performing work on the job
       site in excess of the ratio permitted under the registered program shall be paid not less than the
       applicable wage rate on the wage determination for the work actually performed. Where a
       contractor is performing construction on a project in a locality other than that in which its program
       is registered, the ratios and wage rates (expressed in percentages of the journeyman's hourly
       rate) specified in the contractor's or subcontractors registered program shall be observed. Every
       apprentice must be paid at not less than the rate specified in the registered program for the
       apprentice's level of progress, expressed as a percentage of the journeymen hourly rate specified
       in the applicable wage determination. Apprentices shall be paid fringe benefits in accordance with
       the provisions of the apprenticeship program. If the apprenticeship program does not specify
       fringe benefits, apprentices must be paid the full amount of fringe benefits listed on the wage
       determination for the applicable classification. If the Administrator determines that a different
       practice prevails for the applicable apprentice classification, fringes shall be paid in accordance
       with that determination. In the event the Office of Apprenticeship Training, Employer and Labor
       Services, or a State Apprenticeship Agency recognized by the Office, withdraws approval of an
       apprenticeship program, the contractor will no longer be permitted to utilize apprentices at less
       than the applicable predetermined rate for the work performed until an acceptable program is
       approved.

       (ii) Trainees. Except as provided in 29 CFR 5.16, trainees will not be permitted to work at less
       than the predetermined rate for the work performed unless they are employed pursuant to and
       individually registered in a program which has received prior approval, evidenced by formal
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        certification by the DOL, Employment and Training Administration. The ratio of trainees to
        journeymen on the job site shall not be greater than permitted under the plan approved by the
        Employment and Training Administration. Every trainee must be paid at not less than the rate
        specified in the approved program for the trainee's level of progress, expressed as a percentage
        of the journeyman hourly rate specified in the applicable wage determination. Trainees shall be
        paid fringe benefits in accordance with the provisions of the trainee program. If the trainee
        program does not mention fringe benefits, trainees shall be paid the full amount of fringe benefits
        listed on the wage determination unless the Administrator of the Wage and Hour Division
        determines that there is an apprenticeship program associated with the corresponding
        journeyman wage rate on the wage determination which provides for less than full fringe benefits
        for apprentices. Any employee listed on the payroll at a trainee rate who is not registered and
        participating in a training plan approved by the Employment and Training Administration shall be
        paid not less than the applicable wage rate on the wage determination for the classification of
        work actually performed. In addition, any trainee performing work on the job site in excess of the
        ratio permitted under the registered program shall be paid not less than the applicable wage rate
        on the wage determination for the work actually performed. In the event the Employment and
        Training Administration withdraws approval of a training program, the contractor will no longer be
        permitted to utilize trainees at less than the applicable predetermined rate for the work performed
        until an acceptable program is approved.

        (iii) Equal employment opportunity. The utilization of apprentices, trainees and journeymen under
        this part shall be in conformity with the equal employment opportunity requirements of Executive
        Order 11246, as amended and 29 CFR part 30.

(5) Compliance with Copeland Act requirements. The contractor shall comply with the requirements of 29
CFR part 3, which are incorporated by reference in this contract.

(6) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses contained
in 29 CFR 5.5(a)(1) through (10) and such other clauses as the EPA determines may by appropriate, and
also a clause requiring the subcontractors to include these clauses in any lower tier subcontracts. The
prime contractor shall be responsible for the compliance by any subcontractor or lower tier subcontractor
with all the contract clauses in 29 CFR 5.5.

(7) Contract termination: debarment. A breach of the contract clauses in 29 CFR 5.5 may be grounds for
termination of the contract, and for debarment as a contractor and a subcontractor as provided in 29
CFR 5.12.

(8) Compliance with DB and Related Act requirements. All rulings and interpretations of the DB and
Related Acts contained in 29 CFR parts 1, 3, and 5 are herein incorporated by reference in this contract.

(9) Disputes concerning labor standards. Disputes arising out of the labor standards provisions of this
contract shall not be subject to the general disputes clause of this contract. Such disputes shall be
resolved in accordance with the procedures of the DOL set forth in 29 CFR parts 5, 6, and 7. Disputes
within the meaning of this clause include disputes between the contractor (or any of its subcontractors)
and Sub recipient(s), State, EPA, DOL, or the employees or their representatives.

(10) Certification of eligibility.

        (i) By entering into this contract, the contractor certifies that neither it (nor he or she) nor any
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        person or firm who has an interest in the contractor's firm is a person or firm ineligible to be
        awarded Government contracts by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).

        (ii) No part of this contract shall be subcontracted to any person or firm ineligible for award of a
        Government contract by virtue of section 3(a) of the DB Act or 29 CFR 5.12(a)(1).

        (iii) The penalty for making false statements is prescribed in the U.S. Criminal Code, 18 U.S.C.
        1001.

4. Contract Provision for Contracts in Excess of $100,000.

(a) Contract Work Hours and Safety Standards Act. The sub recipient shall insert the following clauses
set forth in paragraphs (a)(1), (2), (3), and (4) of this section in full in any contract in an amount in excess
of $100,000 and subject to the overtime provisions of the Contract Work Hours and Safety Standards
Act. These clauses shall be inserted in addition to the clauses required by Item 3, above or 29 CFR 4.6.
As used in this paragraph, the terms laborers and mechanics include watchmen and guards.

        (1) Overtime requirements. No contractor or subcontractor contracting for any part of the contract
        work which may require or involve the employment of laborers or mechanics shall require or
        permit any such laborer or mechanic in any workweek in which he or she is employed on such
        work to work in excess of forty hours in such workweek unless such laborer or mechanic receives
        compensation at a rate not less than one and one-half times the basic rate of pay for all hours
        worked in excess of forty hours in such workweek.

        (2) Violation; liability for unpaid wages; liquidated damages. In the event of any violation of the
        clause set forth in paragraph (b)(1) of this section the contractor and any subcontractor
        responsible therefore shall be liable for the unpaid wages. In addition, such contractor and
        subcontractor shall be liable to the United States (in the case of work done under contract for the
        District of Columbia or a territory, to such District or to such territory), for liquidated damages.
        Such liquidated damages shall be computed with respect to each individual laborer or mechanic,
        including watchmen and guards, employed in violation of the clause set forth in paragraph (b)(1)
        of this section, in the sum of $29 for each calendar day on which such individual was required or
        permitted to work in excess of the standard workweek of forty hours without payment of the
        overtime wages required by the clause set forth in paragraph (b)(1) of this section.

        (3) Withholding for unpaid wages and liquidated damages. The sub recipient shall upon the
        request of the EPA Award Official or an authorized representative of the DOL, withhold or cause
        to be withheld, from any moneys payable on account of work performed by the contractor or
        subcontractor under any such contract or any other Federal contract with the same prime
        contractor, or any other federally-assisted contract subject to the Contract Work Hours and Safety
        Standards Act, which is held by the same prime contractor, such sums as may be determined to
        be necessary to satisfy any liabilities of such contractor or subcontractor for unpaid wages and
        liquidated damages as provided in the clause set forth in paragraph (a)(2) of this section.

        (4) Subcontracts. The contractor or subcontractor shall insert in any subcontracts the clauses set
        forth in paragraph (a)(1) through (4) of this section and also a clause requiring the subcontractors
        to include these clauses in any lower tier subcontracts. The prime contractor shall be responsible
        for compliance by any subcontractor or lower tier subcontractor with the clauses set forth in
        paragraphs (a)(1) through (4) of this section.
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(b) In addition to the clauses contained in Item 3, above, in any contract subject only to the Contract
Work Hours and Safety Standards Act and not to any of the other statutes cited in 29 CFR 5.1, the Sub
recipient shall insert a clause requiring that the contractor or subcontractor shall maintain payrolls and
basic payroll records during the course of the work and shall preserve them for a period of three years
from the completion of the contract for all laborers and mechanics, including guards and watchmen,
working on the contract. Such records shall contain the name and address of each such employee,
social security number, correct classifications, hourly rates of wages paid, daily and weekly number of
hours worked, deductions made, and actual wages paid. Further, the Sub recipient shall insert in any
such contract a clause providing that the records to be maintained under this paragraph shall be made
available by the contractor or subcontractor for inspection, copying, or transcription by authorized
representatives of the EPA and the DOL, and the contractor or subcontractor will permit such
representatives to interview employees during working hours on the job.

5. Compliance Verification

(a) The sub recipient shall periodically interview a sufficient number of employees entitled to DB
prevailing wages (covered employees) to verify that contractors or subcontractors are paying the
appropriate wage rates. As provided in 29 CFR 5.6(a)(3), all interviews must be conducted in
confidence. The sub recipient must use Standard Form 1445 (SF 1445) or equivalent documentation to
memorialize the interviews. Copies of the SF 1445 are available from EPA on request.

(b) The sub recipient shall establish and follow an interview schedule based on its assessment of the
risks of noncompliance with DB posed by contractors or subcontractors and the duration of the contract
or subcontract. Sub recipients must conduct more frequent interviews if the initial interviews or other
information indicated that there is a risk that the contractor or subcontractor is not complying with DB.
Sub recipients shall immediately conduct interviews in response to an alleged violation of the prevailing
wage requirements. All interviews shall be conducted in confidence.

(c) The sub recipient shall periodically conduct spot checks of a representative sample of weekly payroll
data to verify that contractors or subcontractors are paying the appropriate wage rates. The sub recipient
shall establish and follow a spot check schedule based on its assessment of the risks of noncompliance
with DB posed by contractors or subcontractors and the duration of the contract or subcontract. At a
minimum, if practicable the sub recipient should spot check payroll data within two weeks of each
contractor or subcontractor's submission of its initial payroll data and two weeks prior to the completion
date the contract or subcontract. Sub recipients must conduct more frequent spot checks if the initial spot
check or other information indicates that there is a risk that the contractor or subcontractor is not
complying with DB. In addition, during the examinations the sub recipient shall verify evidence of fringe
benefit plans and payments there under by contractors and subcontractors who claim credit for fringe
benefit contributions.

(d) The sub recipient shall periodically review contractors and subcontractors use of apprentices and
trainees to verify registration and certification with respect to apprenticeship and training programs
approved by either the U.S DOL or a state, as appropriate, and that contractors and subcontractors are
not using disproportionate numbers of, laborers, trainees and apprentices. These reviews shall be
conducted in accordance with the schedules for spot checks and interviews described in Item 5(b) and
(c) above.

(e) Sub recipients must immediately report potential violations of the DB prevailing wage requirements to
the EPA DB contact listed above and to the appropriate DOL Wage and Hour District Office listed at
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https://www.dol.gov/agencies/whd/contact/local-offices.
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   Scheminske Declaration Exhibit B                                 PageID #: 5917
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                                                                                  GRANT NUMBER (FAIN):          00I43100
                                                                                  MODIFICATION NUMBER:          0                   DATE OF AWARD
                            U.S. ENVIRONMENTAL                                    PROGRAM CODE:                 48                  11/21/2023
                                                                                  TYPE OF ACTION                                    MAILING DATE
                            PROTECTION AGENCY                                     New                                               11/27/2023
                                      Grant Agreement                             PAYMENT METHOD:                                   ACH#
                                                                                  ASAP                                              80011
RECIPIENT TYPE:                                                                   Send Payment Request to:
State                                                                             Contact EPA RTPFC at: rtpfc-grants@epa.gov
RECIPIENT:                                                                        PAYEE:
CO Department of Public Health and Environment                                    Colorado Department of Public Health and Environment
4300 Cherry Creek South DR                                                        4300 Cherry Creek DR S
Denver, CO 80246-1523                                                             Denver, CO 80246-1523
EIN: XX-XXXXXXX
PROJECT MANAGER                                       EPA PROJECT OFFICER                                    EPA GRANT SPECIALIST
Ron Falco                                             Rainie Devaney                                         James Baraw
4300 Cherry Creek Dr. South                           Senator Baucus Federal Bldg. Rm - MO 326 10            1595 Wynkoop Street
Denver, CO 80246                                      West 15th Street                                       Denver, CO 80202
                                                      Helena, MT 59626
Email: ron.falco@state.co.us                                                                                 Email: Baraw.James@epa.gov
                                                      Email: Devaney.Rainie@epa.gov
Phone: 720-507-5614                                                                                          Phone: 303-312-6556
                                                      Phone: 406-457-5037
PROJECT TITLE AND DESCRIPTION
Colorado Department of Public Health & Environment - Emerging Contaminants in Small and Disadvantaged Communities - Address PFAS contaminant

See Attachment 1 for project description.


BUDGET PERIOD                            PROJECT PERIOD                           TOTAL BUDGET PERIOD COST                 TOTAL PROJECT PERIOD COST
10/01/2023 - 09/30/2026                  10/01/2023 - 09/30/2026                  $214,737,500.00                          $214,737,500.00

                                                                NOTICE OF AWARD
Based on your Application dated 08/30/2023 including all modifications and amendments, the United States acting by and through the US Environmental
Protection Agency (EPA) hereby awards $85,895,000.00. EPA agrees to cost-share 100.00% of all approved budget period costs incurred, up to and not
exceeding total federal funding of $85,895,000.00. Recipient's signature is not required on this agreement. The recipient demonstrates its commitment to
carry out this award by either: 1) drawing down funds within 21 days after the EPA award or amendment mailing date; or 2) not filing a notice of
disagreement with the award terms and conditions within 21 days after the EPA award or amendment mailing date. If the recipient disagrees with the terms
and conditions specified in this award, the authorized representative of the recipient must furnish a notice of disagreement to the EPA Award Official within
21 days after the EPA award or amendment mailing date. In case of disagreement, and until the disagreement is resolved, the recipient should not draw
down on the funds provided by this award/amendment, and any costs incurred by the recipient are at its own risk. This agreement is subject to applicable
EPA regulatory and statutory provisions, all terms and conditions of this agreement and any attachments.

        ISSUING OFFICE (GRANTS MANAGEMENT OFFICE)                                                       AWARD APPROVAL OFFICE
ORGANIZATION / ADDRESS                                                            ORGANIZATION / ADDRESS
U.S. EPA, Region 8 , Environmental Protection Agency, Region 8                    U.S. EPA, Region 8, Environmental Protection Agency, Region 8
1595 Wynkoop Street                                                               R8 - Region 8
Denver, CO 80202-1129                                                             1595 Wynkoop St
                                                                                  Denver, CO 80202
                               THE UNITED STATES OF AMERICA BY THE U.S. ENVIRONMENTAL PROTECTION AGENCY
Digital signature applied by EPA Award Official   Sarah Hulstein                                                                                  DATE
                                                                                                                                                  11/21/2023
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                                                      EPA Funding Information
            FUNDS                                      FORMER AWARD                                  THIS ACTION                         AMENDED TOTAL
EPA Amount This Action                                                   $0                            $85,895,000                                $85,895,000
EPA In-Kind Amount                                                       $0                                      $0                                         $0
Unexpended Prior Year Balance                                            $0                                      $0                                         $0
Other Federal Funds                                                      $0                                      $0                                         $0
Recipient Contribution                                                   $0                                      $0                                         $0
State Contribution                                                       $0                                      $0                                         $0
Local Contribution                                                       $0                                      $0                                         $0
Other Contribution                                                       $0                                      $0                                         $0
Allowable Project Cost                                                   $0                            $85,895,000                                $85,895,000



Assistance Program (CFDA)                        Statutory Authority                                    Regulatory Authority
66.442 - Water Infrastructure Improvements for   Safe Drinking Water Act: Sec. 1459A &                  2 CFR 200, 2 CFR 1500 and 40 CFR 33
the Nation Small and Underserved Communities     Infrastructure Investment and Jobs Act (IIJA) (PL
Emerging Contaminants Grant Program              117-58)




                                                                        Fiscal
           Site Name                 Req No      FY     Approp.          Budget        PRC           Object   Site/Project       Cost            Obligation /
                                                         Code          Oganization                   Class                    Organization       Deobligation
-                                 2408TSB003      23        E4SD              08T1   000BL8X87        4101                -                  -    $31,121,500
-                                 2408TSB003      22        E4SD              08T1   000BL8X87        4101                -                  -    $54,773,500
                                                                                                                                                  $85,895,000
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Budget Summary Page
                                       Table A - Object Class Category                                Total Approved Allowable
                                             (Non-Construction)                                          Budget Period Cost
 1. Personnel                                                                                                               $5,820,976
 2. Fringe Benefits                                                                                                         $1,746,293
 3. Travel                                                                                                                   $108,720
 4. Equipment                                                                                                                       $0
 5. Supplies                                                                                                                   $38,200
 6. Contractual                                                                                                                     $0
 7. Construction                                                                                                                    $0
 8. Other                                                                                                                 $203,651,710
 9. Total Direct Charges                                                                                                  $211,365,899
 10. Indirect Costs: 0.00 % Base                                                                                            $3,371,601
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                               100.00 %)                                                                  $214,737,500
 12. Total Approved Assistance Amount                                                                                     $214,737,500
 13. Program Income                                                                                                                 $0
 14. Total EPA Amount Awarded This Action                                                                                  $85,895,000
 15. Total EPA Amount Awarded To Date                                                                                      $85,895,000
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                         Attachment 1 - Project Description
This agreement provides funding under the Infrastructure Investment and Jobs Act (IIJA) to
the State of Colorado to implement resources and priorities to help address Per- and
polyfluoroalkyl substances (PFAS) and emerging contaminant challenges; target resources
to communities most in need of assistance to ensure that no community is left behind with
unsafe, inadequate water; and advance the priorities of equity and environmental justice.
Colorado will implement projects such as planning and design followed with remedial
activities as appropriate with the use of this award funding.
The activities include projects and activities to address emerging contaminants in small or
disadvantaged communities, including but not limited to research and testing; planning and
design to address emerging contaminates; treatment of emerging contaminants; source
water activities related to emerging contaminants; storage; water system restructuring;
providing households access to drinking water services; technical assistance; outreach and
education; and workforce or training support to public water systems in addressing emerging
contaminants. This agreement is to an eligible state or territory to implement a program to
provide assistance to address emerging contaminants in drinking water to small or
disadvantaged communities. Funds are to carry out projects and activities needed for public
water systems to comply with the Safe Drinking Water Act, programs to provide household
water quality testing, activities for a state to respond to a drinking water contaminants, and
activities that benefit the impacted communities.
The anticipated deliverables include planning, design and appropriate remedial activities to
reduce PFAS and manganese concentration in public drinking water supplies for small and
disadvantaged communities across Colorado.
The expected outcomes include improved drinking water quality and reduced PFAS and
manganese concentrations.
The intended beneficiaries include residents of small and disadvantaged communities
across Colorado.
Direct Beneficiaries of this program include all state residents and occupants, both
permanent and temporary. Planning, design and implementation of remedial activities,
where appropriate, to reduce emerging contaminant concentrations in public drinking water
supplies serving small or disadvantaged communities.
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                                          Administrative Conditions
General Terms and Conditions

The recipient agrees to comply with the current EPA general terms and conditions available at:
https://www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2023-or-later.

These terms and conditions are in addition to the assurances and certifications made as a part of the award and the terms,
conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.epa.gov/grants/grant-terms-
and-conditions#general.




A. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for approval, or notifications
to EPA. Unless otherwise noted, all such correspondence should be sent to the following email addresses:

       • Federal Financial Reports (SF-425): rtpfc-grants@epa.gov and Baraw.James@epa.gov

       • MBE/WBE reports (EPA Form 5700-52A): James Baraw at (303) 312 6556, or email at Baraw.James@epa.gov

       • All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for Extensions of the Budget
       and Project Period, Amendment Requests, Requests for other Prior Approvals, updates to recipient information
       (including email addresses, changes in contact information or changes in authorized representatives) and other
       notifications: GS - James Baraw at (303) 312 6556, or email at Baraw.James@epa.gov and PO - Rainie Devaney
       at (406) 457-5037 or email at Devaney.Rainie@epa.gov

       • Payment requests (if applicable):GS - James Baraw at (303) 312 6556, or email at Baraw.James@epa.gov and
       PO - Rainie Devaney at (406) 457-5037 or email at Devaney.Rainie@epa.gov

       • Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and deliverables: PO -
        Rainie Devaney at (406) 457-5037 or email at Devaney.Rainie@epa.gov




E. Pre-Award Costs

In accordance with 2 CFR 1500.9, the recipient may charge otherwise allowable pre-award costs (both Federal and non-
Federal matching shares) incurred from 10/01/2023 to the actual award date provided that such costs were contained in the
approved application and all costs are incurred within the approved budget period.




                                          Programmatic Conditions
Grant Programmatic Terms and Conditions
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A. PERFORMANCE REPORTING AND FINAL PERFORMANCE REPORT

Work Plan

The recipient agrees to perform the activities identified and specified in the approved work plan, which is made part of this
Assistance Agreement. The recipient shall provide or make available to the EPA Project Officer copies of the work plans
associated with grants and contracts that it may enter into with other agencies and organizations related to activities
conducted under this grant. The recipient agrees to notify EPA of modifications or challenges as they arise through the
development and progress of the projects and related activities in order to modify workplans or budgets as appropriate to
meet the obligations of the project receiving funding. The recipient must submit modifications for EPA approval prior to
continued project progress, and related activities. Recipient will meet with EPA regional programmatic and technical point
of contact routinely, during the length of the performance period, to review workplan progress and expenditures,
challenges to progress of project progress, and public outreach to the communities and stakeholders that are beneficiaries
of the grant project and/or activities. EPA’s Program and Project Officer will provide recipient(s) with additional instructions
and information pertaining to reporting no more than 30 days after receipt of award. Remedies for delinquency on report
may result in actions as described in 2 CFR 200.339 such as (a) temporarily withhold cash payments pending correction of
the deficiency by the non-Federal entity or more severe enforcement action by the Federal awarding agency or pass-
through entity or (b) wholly or partly suspend or terminate the Federal award. If the non-Federal entity does not submit all
reports in accordance with this section within one year of the period of performance end date, the Federal awarding agency
must report the non Federal entity's material failure to comply with the terms and conditions of the award with the OMB-
designated integrity and performance system (currently FAPIIS). Federal awarding agencies may also pursue other
enforcement actions per § 200.339.

Performance Reports – Content

In accordance with 2 CFR 200.329, the recipient agrees to submit performance reports to the EPA’s Office of Water’s State
Revolving Fund data system, with review from the EPA Project Officer, after the end of each reporting period that include
brief information on each of the following areas: 1) A comparison of actual accomplishments to the outputs/outcomes
established in the assistance agreement work plan for the period; 2) The reasons why established outputs/outcomes were
not met; and 3) Additional pertinent information, including, when appropriate, analysis and explanation of cost overruns or
high-unit costs. 4). Data and details on outreach, training, and technical assistance activities, as described in the project’s
workplan, that occurred during the reporting period. This may include, but are not limited to: a. Amount, type, name, number
of participants, and other pertinent details on outreach and training activities, including a list of communities that were
contacted as part of the outreach; b. Difficulties with any outreach and training activities; c. Projected number of outreach
and training activities for the next performance period; d. information on workforce development and training, including (1)
on-the-job training; (2) Skills development; (4) advanced training or certification in the water utility sector relating to
construction, utility operations treatment and distribution, green infrastructure, customer service, maintenance, and
engineering.

Additionally, the recipient agrees to inform EPA as soon as problems, delays, or adverse conditions which will materially
impair the ability to meet the outputs/outcomes specified in the assistance agreement work plan are known.

The report will reflect information pertaining to the state and its agency with oversight and the work performed to meet the
objectives of the program and the grant activity during the period of performance. Reporting must provide a comprehensive
review of the small or disadvantaged communities receiving assistance; the type of assistance provided / activities
performed; and the breakdown of financial and direct grant assistance which subsidized the activities performed during the
reporting cycle. The recipient will coordinate with the appropriate EPA regional office on reporting elements after the
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application has been approved for award. These performance reports shall cover work status, work progress, difficulties
encountered, preliminary data results and a statement of activity anticipated during the subsequent reporting period, a
discussion of expenditures along with a comparison of the percentage of the project completed to the project schedule and
an explanation of significant discrepancies shall be included in the report. The report shall also include any changes of key
personnel concerned with the project.

The following information is to be included as part of each performance report, as well as in the final report as a cumulative
total of completed work. The information will also be the following:

1) Grant ID number.

2) Indicate the semi-annual performance period [date] to [date].

3) PWS Number(s) (if applicable):

4) The report summary will describe the progress of the project and/or activity provided during the reporting period. It also
identifies the following information:

        Census tract/block of benefitting communities

        Project start date/completion date

        Awarded amount

        Amount of awarded federal funds spent during the reported performance period

        Total Project Cost

                [If project includes more than the funded amount, breakdown project by funding amounts and identify types
                of funding, e.g. state funding, other federal funding, private funding, etc.

        List of emerging contaminants being addressed:

                [INSERT List of Contaminants being addressed]

        Community Type (indicate and describe the community, including census tract information):

                Small

                Disadvantaged

                Both small and disadvantaged

        Does the project address climate resiliency?

                Yes, it meets the XXXXX Standards

                Provide detailed information regarding the resiliency component of the project, including percentage of the
                grant directed to also address climate resiliency]

        Project Type (multiple selections allowed):

                Treatment
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                        Include description of project

               Transmission and Distribution

                        Include description of project

               Source

                        Include description of project

               Storage

                        Include description of project

               Creation of New Systems

                        Include description of project

               Consolidation

                        Include description of project

               Household water quality testing, including for unregulated contaminants

                        Include description of project

               Assistance to increase technical, managerial, and financial (TMF) capacity

                        Did the project or activities include information on the removal of emerging contaminants

               Drinking water contamination response efforts

                        Include description of project

               Other (includes space for a narrative description)

        Public Health Impact Description (narrative)

        Population served (either by Project or by the System)

Performance Reports - Frequency

The recipient will submit semi-annual performance reports, which are required. They are to be submitted electronically to
the EPA Project Officer within 30 days after the reporting period (every six-month period). The reporting periods are
October 1st through March31st and April 1st through September 30th. Semi-annual reports are to be submitted
electronically within 30 days after the semi-annual reporting period ends. The semi-annual reports must include progress
towards the outcomes and outputs of the performance period. In accordance with 2CFR 200.329, the recipient must submit
a final performance report no later than 120 days after the end date of the period of performance.

The recipient must submit the final performance report no later than 120 calendar days after the end date of the period of
performance, or the project is completion date and/or when all funding is expended.

Remedies for delinquency on report may result in actions as described in 2 CFR 200.339 such as (a) temporarily withhold
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cash payments pending correction of the deficiency by the non-Federal entity or more severe enforcement action by the
Federal awarding agency or pass-through entity or (b) wholly or partly suspend or terminate the Federal award.

Subaward Performance Reporting

 The recipient must report on its subaward activities and monitoring activities under 2 CFR 200.332(d). Examples of items
 that must be reported if the pass-through entity has the information available are:

1. Summaries of results of reviews of financial and programmatic reports.

2. Summaries of findings from site visits and/or desk reviews to ensure effective subrecipient performance.

3. Environmental results the subrecipient achieved.

4. Summaries of audit findings and related pass-through entity management decisions.

5. Actions the pass-through entity has taken to correct deficiencies such as those specified at 2 CFR 200.332(e), 2 CFR
200.208 and the 2 CFR Part 200.339 Remedies for Noncompliance.

B. Cybersecurity Condition

State Grant Cybersecurity

(a) The recipient agrees that when collecting and managing environmental data under this assistance agreement, it will
protect the data by following all applicable State law cybersecurity requirements.

(b) (1) EPA must ensure that any connections between the recipient’s network or information system and EPA networks
used by the recipient to transfer data under this agreement, are secure.

For purposes of this Section, a connection is defined as a dedicated persistent interface between an Agency IT system and
an external IT system for the purpose of transferring information. Transitory, user-controlled connections such as website
browsing are excluded from this definition.

If the recipient’s connections as defined above do not go through the Environmental Information Exchange Network or
EPA’s Central Data Exchange, the recipient agrees to contact the EPA Project Officer (PO) and work with the designated
Regional/Headquarters Information Security Officer to ensure that the connections meet EPA security requirements,
including entering into Interconnection Service Agreements as appropriate. This condition does not apply to manual entry of
data by the recipient into systems operated and used by EPA’s regulatory programs for the submission of reporting and/or
compliance data.

(2) The recipient agrees that any subawards it makes under this agreement will require the subrecipient to comply with the
requirements in (b)(1) if the subrecipient’s network or information system is connected to EPA networks to transfer data to
the Agency using systems other than the Environmental Information Exchange Network or EPA’s Central Data Exchange.
The recipient will be in compliance with this condition: by including this requirement in subaward agreements; and during
subrecipient monitoring deemed necessary by the recipient under 2 CFR 200.332(d), by inquiring whether the subrecipient
has contacted the EPA Project Officer. Nothing in this condition requires the recipient to contact the EPA Project Officer on
behalf of a subrecipient or to be involved in the negotiation of an Interconnection Service Agreement between the
subrecipient and EPA.

C. Signage Required
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1. Signage Requirements

a. Investing in America Emblem: The recipient will ensure that a sign is placed at construction sites supported in whole or in
part by this award displaying the official Investing in America emblem and must identify the project as a “project funded by
President Biden’s Bipartisan Infrastructure Law” or “project funded by President Biden’s Inflation Reduction Act” as
applicable. The sign must be placed at construction sites in an easily visible location that can be directly linked to the work
taking place and must be maintained in good condition throughout the construction period. The recipient will ensure
compliance with the guidelines and design specifications provided by EPA for using the official Investing in America
emblem available at: https://www.epa.gov/invest/investingamerica-signage.

b. Procuring Signs: State agencies and agencies of political subdivisions of states must comply with 2 CFR 200.323,
Procurement of recovered materials when procuring signage for projects funded by EPA assistance agreement. EPA
encourages other recipients to use recycled or recovered materials when procuring signs. Signage costs are considered an
allowable cost under this assistance agreement provided that the costs associated with signage are reasonable.
Additionally, to increase public awareness of projects serving communities where English is not the predominant language,
recipients are encouraged to translate the language on signs (excluding the official Investing in America emblem or EPA
logo or seal) into the appropriate non-English language(s). The costs of such translation are allowable, provided the costs
are reasonable.

2. Public or Media Events

The Recipient agrees to notify the EPA Project Officer listed in this award document of public or media events publicizing
the accomplishment of significant events related to construction projects as a result of this agreement, and provide the
opportunity for attendance and participation by federal representatives with at least ten (10) working days’ notice.

D. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC) endorsed standards.
Information on these standards may be found at https://www.fgdc.gov/.

E. REAL PROPERTY

Note that under SDWA § 1459A(g) [42 U.S.C. 300j-19a(g)], this funding cannot be used to purchase land, easements,
rights-of way, or relocations (prohibited by statute). In accordance with 2 CFR 200.311, land improvements under this
agreement will vest upon acquisition in the recipient. Said improvements must be for the originally authorized purpose as
long as needed for that purpose and through project completion, during which time the recipient must not dispose of or
encumber its title or other interests in accordance with 2 CFR 200.311.

F. Use of Logos

If the EPA logo is appearing along with logos from other participating entities on websites, outreach materials, or reports, it
must not be prominently displayed to imply that any of the recipient or subrecipient’s activities are being conducted by the
EPA. Instead, the EPA logo should be accompanied with a statement indicating that the State of Colorado received
financial support from the EPA under an Assistance Agreement. More information is available at:
https://www.epa.gov/stylebook/using-epa-seal-and-logo#policy

G. Quality Assuance Competency
Competency of Organizations Generating Environmental Measurement Data: In accordance with Agency Policy Directive
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Number FEM-2012-02, Policy to Assure the Competency of Organizations Generating Environmental Measurement Data
under Agency-Funded Assistance Agreements, recipient agrees, by entering into this agreement, that it has demonstrated
competency prior to award, or alternatively, where a pre-award demonstration of competency is not practicable, the
recipient agrees to demonstrate competency prior to carrying out any activities under the award involving environmental
information operations (i.e., the collection, production, evaluation or use of environmental information and/or the design,
construction, operation, or application of environmental technology). The recipient shall maintain competency for the
duration of the agreement’s period of performance, and this will be documented during the annual reporting process. To
access the Policy and other information about the Policy, visit http://www.epa.gov/fem/lab_comp.htm. A copy of the Policy
is available directly at https://www.epa.gov/measurements-modeling/documents-about-measurement-competency-under-
assistance-agreements, or a copy may be requested by contacting the EPA Project Officer for this award.




H. Quality Management Plan



   1. As applicable and in accordance with 2 CFR 1500.12, the recipient shall continue to implement and adhere to the
       Quality Management Plan (QMP) approved by EPA. In accordance with EPA QA/S-1: EPA Requirements for
       Quality Management Plans, CIO 2105-S-01.0 (QA/S-1) Section 6, the recipient must review its QMP annually for the
       5-year life of the QMP to reconfirm the suitability and effectiveness of the approved quality management practices.
       The recipient shall document the review using the Region 8 QMP Crosswalk. In the QMP Crosswalk the recipient
       shall identify the specific page number(s) and section(s) of the QMP that addresses the corresponding required
       QMP element in QA/S-1. QMP review results and/or revisions made must be submitted to the EPA Project Officer
       and Regional Quality Assurance Manager annually. Significant changes made to the quality system that affect the
       performance of work for the Agency requiring the revision of an approved QMP are listed in EPA QA/S-1 Section 6
       and require submission of the QMP and completed Region 8 QMP Crosswalk for review and approval by the EPA
       Project Officer and Regional Quality Assurance Manager. This quality assurance requirement applies to all grants,
       cooperative agreements, contracts, and interagency agreements that involve environmental information operations (
       i.e., the collection, production, evaluation or use of environmental information and/or the design, construction,
       operation, or application of environmental technology).




   2. A Quality Assurance Project Plan (QAPP) is a record of determinations made during planning by the organization of
       the data type, quality, and quantity necessary to meet project objectives and the quality assurance and quality
       control procedures, specifications, and documentation that the recipient will use to ensure the desired results. The
       recipient agrees to document in a QAPP the quality assurance (QA), quality control (QC), and technical activities
       that must be implemented to ensure that the project objectives are met. Each QAPP has a maximum period of
       performance of 5 years.




   3. Recipients implementing environmental programs within the scope of the assistance agreement must submit a
       QAPP to the EPA Project Officer and EPA QA reviewer no later than 90 days after award—unless the EPA-
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       approved QMP has made such an authorized QAPP approval delegation, based on procedures documented in the
       QMP. The QAPP shall be prepared for each project in accordance with (IAW) EPA QA/R-5: EPA Requirements for
       Quality Assurance Project Plans. For each QAPP, complete the Region 8 QA Document Review Crosswalk (QAPP
       Review Crosswalk). In the QAPP Crosswalk the recipient shall identify the specific page number(s) and section(s) of
       the QAPP that addresses the corresponding required QAPP element in QA/R-5, including a detailed explanation for
       any elements considered not applicable to the grant. The recipient shall submit the completed crosswalk with the
       QAPP to the EPA Project Officer and QA Reviewer for EPA review and approval—unless the EPA-approved QMP
       authorizes QAPP approval delegation. Multiple QAPPs may be prepared as directed in the Work Plan and EPA
       Project Officer or based on procedures documented in the EPA-approved QMP if EPA has made such an authorized
       delegation.




   4. The recipient agrees to ensure that no environmental information operations (defined in Section 1) may occur until
       the QAPP is reviewed and approved by the EPA Regional Quality Assurance Regional Manager or their delegate (or
       the recipient, if the EPA-approved QMP authorizes QAPP approval delegation based on procedures documented in
       the QMP).




   5. The recipient must review the current QAPP (s) annually to reconfirm its suitability and effectiveness. The recipient
       shall document the review using the Region 8 QA Document Review Crosswalk (QAPP Review Crosswalk). In the
       QAPP Review Crosswalk the recipient shall identify the specific page number(s) and section(s) of changes to the
       approved version of the QAPP, and include a description of what changed and why in the crosswalk element’s
       comment box. QAPP Review Crosswalks and/or revised QAPPs must be submitted to EPA Project Officer and QA
       reviewer annually no later than 60 days prior to the anniversary date of each QAPP’s approval date (unless the EPA
       authorizes QAPP approval delegation based on procedures documented in the EPA-approved QMP). Significant
       changes to the project require the recipient to modify the QAPP and submit the updated QAPP as a new document
       as described in Section 3.




   6. A copy of the approved QAPP(s) must be submitted to the EPA Project Officer by posting the QAPP to the
       appropriate site or other electronic document transfer platform agreed to by the PO. The approved QAPP(s) must be
       retained within the recipient’s official records for this agreement.
   7. Annually, the recipient shall submit an Annual QA Report to the EPA Project Officer and Regional QA Manager. The
       Annual QA Report is due August 31st of each year. The Annual QA Report shall summarize a review of the State
       agency’s quality program, including:
Documented review of the QMP using the EPA Region 8 QMP Crosswalk, and the recipient shall submit a revised/updated
QMP if a revision or update is necessary due to significant changes to the State agency’s quality program;
Listing of QA training provided within the State agency for the reporting cycle including the training provider, dates of
training, and number of attendees;
Identification of all QA documents including status (current, reviewed, approved, cancelled or backlogged) and whether the
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QA document is for new or continuing projects;
Reporting of all assessments conducted in the reporting cycle and the corrective actions taken to resolve any findings; and
Reporting if there are real or perceived risks or vulnerabilities in the quality system that need to be addressed or if support
is needed from EPA Region 8
Scheminske Declaration Exhibit C
2/5/25, 3:22 PMCase 1:25-cv-00039-JJM-PAS             Document
                                State.co.us Executive Branch          68-122
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                                                                                                Case #: CAS-HHS0001283347
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                                                                                                                                                                                                            Benton - CDPHE, Erica <erica.benton@state.co.us>



 PSC Contact Center Services Case #: CAS-HHS0001283347
 GDIT Shared ServiceNow Instance <gditshared@servicenowservices.com>                                                                                                                                                               Tue, Feb 4, 2025 at 5:06 PM
 Reply-To: PMS <pmssupport@psc.gov>
 To: erica.benton@state.co.us


   Thank you for contacting ONE-DHHS Customer Support for the Payment Management System (PMS).

   If you requested a payment but it has not been deposited into your bank account the following business day, you can verify the Debit Date of the payment request by running a Payment Transactions inquiry in PMS. Please complete the steps below to
   run this inquiry.

   1. Log into PMS.
   2. In the top-left corner of the page, click on the MENU button.
   3. Click on the APEX REPORTS link from the expanded menu.
   4. Click on the GRANTEE INQUIRY link.
   5. For INQUIRY TYPE, select the radio button next to FINANCIAL TRANSACTIONS.
   6. In the PAYEE ACCOUNT field, enter your Payee Account Number (PAN). Optional: you may also enter/select additional criteria or even save the inquiry.
   7. Click on the RUN INQUIRY button.

   The payment request generally posts the next business day. If the Debit Date is displayed, this indicates that the payment has been sent to your financial institution. For further information, please contact your bank.

   If the Debit Date does not display after one business day and you still do not see the payment, please note that due to Executive Orders regarding potentially unallowable grant payments, PMS is taking additional measures to process payments.
   Reviews of applicable programs and payments will result in delays and/or rejections of payments.

   Your ticket number is listed in the subject line of this email. Please make note of this number as it will be referenced by the PMS Help Desk.

   For additional questions or concerns, please contact the ONE- DHHS Help Desk for Payment Management System Support. For more immediate assistance, please call the Help Desk at 1-877-614-5533. The Help Desk is open Monday through
   Friday, 7 AM to 9 PM EST, excluding federal holidays.

   You may also e-mail your request to PMSSupport@psc.gov. Email is typically responded to within one business day. However, it may take up to two business days to receive a response, depending on volume.

   For access to our Self-Help Web Portal and further information about ONE-DHHS, please visit https://dpm-portal.psc.gov.

   Thank you,

   ONE-DHHS PMS Customer Support

   HHS007




   Hello,

   We've submitted several payment requests, and some of the due dates have already passed. I understand there are delays, but would it be possible to provide an estimated time frame for when the payments will be processed?

   Thank you,

   Erica Benton
   Divisions Controller
   - Accounts Payable, Accounts Receivable, Revenue -




   4300 Cherry Creek Drive South, Denver, CO 80246
   Erica.Benton@state.co.us | www.colorado.gov/cdphe

   Health: cdphe.healthaccounting@state.co.us
   Environment: cdphe.environmentalaccounting@state.co.us
   Payroll: cdphe_payroll@state.co.us




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